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    6
    7
                            UNITED STATES DISTRICT COURT
    8
                          CENTRAL DISTRICT OF CALIFORNIA
    9
   10                                            Case No. 5:17-cv-02545-AB-SPx
         ALEXANDER HERD,
   11                                            [Hon. Andre Birotte, Jr.]
   12                     Plaintiff,
                                                 PLAINTIFFS’ RESPONSES AND
   13                                            OBJECTIONS TO DEFENDANTS
                    vs.                          CITY OF FONTANA’S AND JASON
   14                                            PERNICIARO’S SEPARATE
         COUNTY OF SAN BERNARDINO;               STATEMENT OF
   15                                            UNCONTROVERTED FACTS AND
         CITY OF FONTANA; STATE OF               CONCLUSIONS OF LAW;
   16    CALIFORNIA; BRIAN LEYVA;                PLAINTIFFS’ ADDITIONAL
         JASON PERNICIARO; and DOES 1-           MATERIAL UNDISPUTED FACTS;
   17                                            CONCLUSIONS OF LAW
         10, inclusive
   18                                            [Filed concurrently with Plaintiffs’
                          Defendants.            Memorandum of Points and Authorities
   19                                            in Opposition to the City Defendants’
                                                 Motion for Summary Judgment;
   20                                            Declaration of Renee V. Masongsong
                                                 and exhibits thereto; Declaration of
   21                                            Austin Banuelos; Declaration of Roger
                                                 Clark; Declaration of Alexander Herd]
   22
   23                                             Date: November 8, 2019
                                                  Time: 10:00 a.m.
   24                                             Courtroom: 7B
   25                                             Judge: Hon. André Birotte, Jr.
   26
   27
   28                                           -1-
           PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
        STATEMENT OF FACTS AND CONLCUSIONS OF LAW; PLAINTIFFS’ ADDITIONAL UNDISPUTED FACTS;
                                        CONCLUSIONS OF LAW
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    1 TO THIS HONORABLE COURT, ALL PARTIES, AND THEIR ATTORNEYS
      HEREIN:
    2
            Plaintiffs hereby submit their Responses and Objections to Defendants’
    3
      Statement of Uncontroverted Facts, Plaintiffs’ Additional Material Undisputed Facts
    4
      in Opposition to Defendants’ Motion for Partial Summary Judgment, and Plaintiffs’
    5
      Conclusions of Law.
    6
    7
        DATED: October 18, 2019              LAW OFFICES OF DALE K. GALIPO
    8
    9                                               /s/ Renee V. Masongsong
                                             By: ____________________________
   10                                              Dale K. Galipo
   11                                              Renee V. Masongsong
                                                   Attorneys for Plaintiffs
   12
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   28                                           -2-
           PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
        STATEMENT OF FACTS AND CONLCUSIONS OF LAW; PLAINTIFFS’ ADDITIONAL UNDISPUTED FACTS;
                                        CONCLUSIONS OF LAW
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    1             PLAINTIFFS’ RESPONSIVE SEPARATE STATEMENT
    2
    3       DEFENDANTS’ ALLEGED
         UNDISPUTED MATERIAL FACTS                             PLAINTIFFS’ RESPONSE
    4
          AND SUPPORTING EVIDENCE
    5
        1.   On the morning of May 31, 2017,               Disputed to the extent that this stolen
    6
             California Highway Patrol Officer             vehicle dispatch was unrelated to Mr.
    7
             Brian Leyva and Fontana Officer               Herd and/or the decedent. At the time
    8
             Jason Perniciaro, were present in a           of the shooting, Officers Leyva and
    9
             Wal-Mart parking lot to investigate           Perniciaro had no information that the
   10
             a report of a stolen car.                     dark Honda was stolen.
   11
                                                           Leyva Depo. (“Exhibit 1” to
   12
             See, Deposition of Brian Leyva                Masongsong Decl.) at 75:10-18;
   13
             (“Leyva Depo.”), 25:6-27:9, Exhibit Perniciaro Depo. (“Exhibit 2” to
   14
             “A,” Declaration of S. Frank Harrell Masongsong Decl.) at 37:16-20;
   15
             (“Harrell Decl.”), ¶ 3; see also,             Perniciaro Int. (“Exhibit 4” to
   16
             Deposition of Jason Perniciaro                Masongsong Decl.) at 11:11-12.
   17
             (“Perniciaro Depo.”), 19:5-19:25,
   18
             Exhibit “B,” Harrell Decl., ¶ 4;
   19
             Declaration of Jason Perniciaro
   20
             (“Perniciaro Decl.,”) ¶¶ 4, 5;
   21
             Declaration of Brian Leyva ¶¶ 1, 3
   22
        2.   At the time, both Officers were               Undisputed.
   23
             assigned to the San Bernardino
   24
             County Auto Theft Task Force.
   25
   26
             See, Perniciaro Decl., ¶ 3; see also,
   27
   28                                                -3-
           PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
        STATEMENT OF FACTS AND CONLCUSIONS OF LAW; PLAINTIFFS’ ADDITIONAL UNDISPUTED FACTS;
                                        CONCLUSIONS OF LAW
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    1       DEFENDANTS’ ALLEGED
         UNDISPUTED MATERIAL FACTS                            PLAINTIFFS’ RESPONSE
    2
          AND SUPPORTING EVIDENCE
    3
             Declaration of Brian Leyva (“Leyva
    4
             Decl.”), ¶ 1
    5
        3.   While in the parking lot, Officer            Undisputed.
    6
             Leyva observed two males—later
    7
             determined to be driver Decedent
    8
             James Gleason (“Decedent
    9
             Gleason”) and passenger Plaintiff
   10
             Alexander Herd (“Plaintiff
   11
             Herd”)—riding in a dark colored
   12
             Honda.
   13
   14
             See, Leyva Depo., 27:10-27:25,
   15
             Exhibit “A,” Harrell Decl., ¶ 3; see
   16
             also, Leyva Decl., ¶ 4
   17
        4.   As Officer Perniciaro completed              Objection: calls for speculation and
   18
             paperwork related to the reportedly          lacks foundation; not relevant under
   19
             stolen vehicle, Officer Leyva                Fed. R. Evid. 401, 402 as Plaintiffs do
   20
             advised Officer Perniciaro that it           not maintain a claim for unreasonable
   21
             appeared Decedent Gleason was                detention and arrest; probative value
   22
             driving as if he were “casing” the           outweighs the prejudicial effect under
   23
             Wal-Mart parking lot.                        Fed. R. Evid. 403; improper character
   24
                                                          evidence under Fed. R. Evid. 404.
   25
             See, Perniciaro Decl., ¶ 7
   26
        5.   Decedent Gleason pulled the dark             Objections: compound; vague and
   27
   28                                               -4-
           PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
        STATEMENT OF FACTS AND CONLCUSIONS OF LAW; PLAINTIFFS’ ADDITIONAL UNDISPUTED FACTS;
                                        CONCLUSIONS OF LAW
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    1       DEFENDANTS’ ALLEGED
         UNDISPUTED MATERIAL FACTS                            PLAINTIFFS’ RESPONSE
    2
          AND SUPPORTING EVIDENCE
    3
             colored Honda next to a parked               ambiguous; assumes facts not in
    4
             white colored Honda briefly before           evidence that the decedent intended to
    5
             parking directly in front of Officer         park in front of Officer Leyva; not
    6
             Leyva.                                       relevant under Fed. R. Evid. 401, 402.
    7
    8
             See, Leyva Depo., 27:17-28:5,
    9
             Exhibit “A,” Harrell Decl., ¶ 3; see
   10
             also, Leyva Decl., ¶ 4
   11
        6.   Officer Leyva advised Officer                Objections: compound; vague and
   12
             Perniciaro that after Plaintiff Herd         ambiguous; not relevant under Fed. R.
   13
             entered the vehicle, Decedent                Evid. 401, 402.
   14
             Gleason drove the dark colored
   15
             Honda and parked it to the left of
   16
             the white Honda.
   17
   18
             See, Perniciaro Decl., ¶ 9; Leyva
   19
             Decl., ¶ 6; see also, Wal-Mart
   20
             Surveillance Footage,
   21
             “Export_EXTERIOR FRONT
   22
             02_Wednesday May 31
   23
             2017170137e0e6b05” at 22:45,
   24
             Exhibit “1” to Phillips Decl. and
   25
             submitted with Defendants’ Joint
   26
             Application to File Exhibits Under
   27
   28                                               -5-
           PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
        STATEMENT OF FACTS AND CONLCUSIONS OF LAW; PLAINTIFFS’ ADDITIONAL UNDISPUTED FACTS;
                                        CONCLUSIONS OF LAW
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    1       DEFENDANTS’ ALLEGED
         UNDISPUTED MATERIAL FACTS                            PLAINTIFFS’ RESPONSE
    2
          AND SUPPORTING EVIDENCE
    3
             Seal
    4
        7.   Officer Leyva advised Officer                Objections: compound; vague and
    5
             Perniciaro that Plaintiff Herd               ambiguous; not relevant under Fed. R.
    6
             approached the driver’s side door of         Evid. 401, 402 as Plaintiffs do not
    7
             the white Honda, manipulated the             maintain a claim for unreasonable
    8
             driver’s door handle, and eventually         detention and arrest; probative value
    9
             gained entry into the car.                   outweighs the prejudicial effect under
   10
                                                          Fed. R. Evid. 403; improper character
   11
             See, Perniciaro Decl., ¶ 10; Leyva           evidence under Fed. R. Evid. 404.
   12
             Decl., ¶ 6; Leyva Depo., 29:8-29:13,
   13
             Exhibit “A,” Harrell Decl., ¶ 3; see
   14
             also, Wal-Mart Surveillance
   15
             Footage, “Export_EXTERIOR
   16
             FRONT 02_Wednesday May 31
   17
             2017170137 e0e6b05” at 23:10,
   18
             Exhibit “1” to Phillips Decl. and
   19
             submitted with Defendants’ Joint
   20
             Application to File Exhibits Under
   21
             Seal
   22
        8.   Based on his training and                    Objections: Officer Leyva’s
   23
             experience, Officer Leyva believed           subjective state of mind is irrelevant
   24
             Plaintiff Herd was attempting to             under Fed. R. Evid. 401, 402; also
   25
             steal the white Honda.                       irrelevant as Plaintiffs do not maintain
   26
                                                          a claim for unreasonable detention
   27
   28                                               -6-
           PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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                                        CONCLUSIONS OF LAW
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    1       DEFENDANTS’ ALLEGED
         UNDISPUTED MATERIAL FACTS                            PLAINTIFFS’ RESPONSE
    2
          AND SUPPORTING EVIDENCE
    3
             See, Leyva Depo., 79:4-17, Exhibit           and arrest; probative value outweighs
    4
             “A,” Harrell Decl., ¶ 3; see also,           the prejudicial effect under Fed. R.
    5
             Leyva Decl., ¶ 6.                            Evid. 403; improper character
    6
                                                          evidence under Fed. R. Evid. 404;
    7
                                                          calls for speculation and lacks
    8
                                                          foundation.
    9
        9.   Officer Leyva advised Officer                Objections: Officer Leyva’s
   10
             Perniciaro that he believed the              subjective state of mind is irrelevant
   11
             occupants of the dark colored                under Fed. R. Evid. 401, 402; also
   12
             Honda were going to steal the white          irrelevant as Plaintiffs do not maintain
   13
             Honda.                                       a claim for unreasonable detention
   14
                                                          and arrest; probative value outweighs
   15
             See, Perniciaro Depo., 26:17-27:8,           the prejudicial effect under Fed. R.
   16
             Exhibit “B,” Harrell Decl., ¶ 4; see         Evid. 403; improper character
   17
             also, Perniciaro Decl., ¶ 9.                 evidence under Fed. R. Evid. 404;
   18
                                                          calls for speculation and lacks
   19
                                                          foundation.
   20
        10. Officer Perniciaro drove his                  Objection: compound.
   21
             unmarked police vehicle, parked              Disputed to the extent that Mr. Herd
   22
             behind the dark colored Honda,               and the decedent did not observe
   23
             activated a red- and-blue forward-           Officer Perniciaro’s emergency lights
   24
             facing flashing police light, and            activated. Herd Decl. at ¶ 6.
   25
             exited his vehicle.                          Disputed. At the time of the shooting,
   26
                                                          Mr. Herd did not know that Officer
   27
   28                                               -7-
           PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
        STATEMENT OF FACTS AND CONLCUSIONS OF LAW; PLAINTIFFS’ ADDITIONAL UNDISPUTED FACTS;
                                        CONCLUSIONS OF LAW
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    1       DEFENDANTS’ ALLEGED
         UNDISPUTED MATERIAL FACTS                           PLAINTIFFS’ RESPONSE
    2
          AND SUPPORTING EVIDENCE
    3
             See, Perniciaro Depo., 20:22-20:25,         Perniciaro and Officer Leyva were
    4
             27:18-28:4, 29:22-30:22, Exhibit            police officers.
    5
             “B,” Harrell Decl., ¶ 4; Perniciaro         Herd Depo. (“Exhibit 5” to
    6
             Decl., ¶¶ 12, 13; see also, Wal-Mart        Masongsong Decl.) at 134:6-10,
    7
             Surveillance Footage,                       137:17-18.
    8
             “Export_EXTERIOR FRONT
    9
             02_Wednesday May 31
   10
             2017170137e0e6b05” at 24:03,
   11
             Exhibit “1” to Phillips Decl. and
   12
             submitted with Defendants’ Joint
   13
             Application to File Exhibits Under
   14
             Seal.
   15
        11. Based on Officer Perniciaro’s                Objections: irrelevant under Fed. R.
   16
             training and experience, Hondas like Evid. 401, 402 as Plaintiffs do not
   17
             this white Honda are commonly a             maintain a claim for unreasonable
   18
             target for theft.                           detention and arrest; calls for
   19
                                                         speculation and lacks foundation.
   20
             See, Perniciaro Decl., ¶ 12.                Disputed to the extent that under the
   21
                                                         facts of this case, a reasonably well-
   22
                                                         trained officer would not have shot at
   23
                                                         the dark Honda or its occupants
   24
                                                         because the occupants were
   25
                                                         attempting to steal a vehicle.
   26
                                                         Clark Decl. at ¶ 34.
   27
   28                                              -8-
           PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
        STATEMENT OF FACTS AND CONLCUSIONS OF LAW; PLAINTIFFS’ ADDITIONAL UNDISPUTED FACTS;
                                        CONCLUSIONS OF LAW
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    1       DEFENDANTS’ ALLEGED
         UNDISPUTED MATERIAL FACTS                           PLAINTIFFS’ RESPONSE
    2
          AND SUPPORTING EVIDENCE
    3
        12. Officer Perniciaro observed Plaintiff Objections: irrelevant under Fed. R.
    4
             Herd inside the white Honda and it          Evid. 401, 402 as Plaintiffs do not
    5
             appeared to Officer Perniciaro that         maintain a claim for unreasonable
    6
             Plaintiff Herd was trying to start the      detention and arrest; calls for
    7
             vehicle.                                    speculation and lacks foundation.
    8
                                                         Disputed to the extent that under the
    9
             See, Perniciaro Decl., ¶ 12.                facts of this case, a reasonably well-
   10
                                                         trained officer would not have shot at
   11
                                                         the dark Honda or its occupants
   12
                                                         because the occupants were
   13
                                                         attempting to steal a vehicle.
   14
                                                         Clark Decl. at ¶ 34.
   15
        13. After Officer Perniciaro activated           Objection: compound; irrelevant
   16
             his red-and-blue forward facing             under Fed. R. Evid. 401, 402 as
   17
             light, Plaintiff Herd exited the white Plaintiffs do not maintain a claim for
   18
             Honda and returned to the front             unreasonable detention and arrest.
   19
             passenger seat of the dark-colored
   20
             Honda.                                      Disputed. At the time of the shooting,
   21
                                                         Mr. Herd did not know that Officer
   22
             See, Perniciaro Depo., 31:1-18,             Perniciaro and Officer Leyva were
   23
             31:25- 32:2, Exhibit “B,” Harrell           police officers.
   24
             Decl., ¶ 4; Perniciaro Decl., ¶ 15;         Herd Depo. (“Exhibit 5” to
   25
             see also, Wal- Mart Surveillance            Masongsong Decl.) at 134:6-10,
   26
             Footage, “Export_EXTERIOR                   137:17-18; Herd Decl. at ¶ 4.
   27
   28                                              -9-
           PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                        PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
          FRONT 02_Wednesday May 31               Disputed. According to Mr. Herd and
 4
          2017170137e0e6b05” at 24:23,            Mr. Banuelos, neither Officer Leyva
 5
          Exhibit “1” to Phillips Decl.           nor Officer Perniciaro identified
 6
          submitted with Defendants’ Joint        himself as a police officer prior to the
 7
          Application to File Exhibits Under      shots starting.
 8
          Seal                                    Banuelos Decl. at ¶ 3; Herd Depo.
 9
                                                  (“Exhibit 5” to Masongsong Decl.) at
10
                                                  146:4-19; Herd Decl. at ¶ 3.
11
                                                  Disputed that the emergency lights
12
                                                  were activated prior to or at the time
13
                                                  of the shooting. Herd Decl. at ¶ 6.
14
                                                  Disputed to the extent that the
15
                                                  emergency lights are not visibly
16
                                                  activated in the video. Clark Decl. at ¶
17
                                                  28.
18
      14. Officer Perniciaro suspected            Objection: compound. Officer
19
          Plaintiff Herd moved quickly from       Perniciaro’s subjective state of mind
20
          the white Honda into the dark           is irrelevant under Fed. R. Evid. 401,
21
          colored Honda because Plaintiff         402 as Plaintiffs do not maintain a
22
          Herd saw Officer Perniciaro’s           claim for unreasonable detention and
23
          flashing police lights.                 arrest; calls for speculation and lacks
24
                                                  foundation.
25
          See, Perniciaro Decl., ¶ 15.
26
                                                  Disputed. At the time of the shooting,
27
28                                             -10-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                      PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
                                                Mr. Herd did not know that Officer
 4
                                                Perniciaro and Officer Leyva were
 5
                                                police officers.
 6
                                                Herd Depo. (“Exhibit 5” to
 7
                                                Masongsong Decl.) at 134:6-10,
 8
                                                137:17-18; Herd Decl. at ¶ 3.
 9
                                                Disputed. According to Mr. Herd and
10
                                                Mr. Banuelos, neither Officer Leyva
11
                                                nor Officer Perniciaro identified
12
                                                himself as a police officer prior to the
13
                                                shots starting.
14
                                                Banuelos Decl. at ¶ 3; Herd Depo.
15
                                                (“Exhibit 5” to Masongsong Decl.) at
16
                                                146:4-19; Herd Decl. at ¶ 3.
17
                                                Disputed that the emergency lights
18
                                                were activated prior to or at the time
19
                                                of the shooting. Herd Decl. at ¶ 6.
20
                                                Disputed to the extent that the
21
                                                emergency lights are not visibly
22
                                                activated in the video. Clark Decl. at ¶
23
                                                28.
24
                                                Disputed to the extent that under the
25
                                                facts of this case, a reasonably well-
26
                                                trained officer would not have shot at
27
28                                          -11-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                      PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
                                                  the dark Honda or its occupants
 4
                                                  because the occupants were
 5
                                                  attempting to steal a vehicle.
 6
                                                  Clark Decl. at ¶ 34.
 7
      15. Officer Perniciaro believed he had      Objection: irrelevant; Plaintiffs do not
 8
          reasonable suspicion to detain          maintain a claim for unreasonable
 9
          Plaintiff Herd.                         detention and arrest. Fed. R. Evid.
10
                                                  401, 402.
11
          See, Perniciaro Decl., ¶ 13.
12
      16. Officer Leyva exited his police unit    Objections: compound; vague and
13
          and began running around the back       ambiguous.
14
          of his vehicle toward the front of the Disputed to the extent that Officer
15
          dark colored Honda.                     Leyva had his undercover vehicle
16
                                                  available to him for cover. Clark
17
          See, Leyva Decl., ¶ 9; see also, Wal- Decl. at ¶ 29.
18
          Mart Surveillance Footage,              Disputed: When Officer Perniciaro
19
          “Export_EXTERIOR FRONT                  was firing into the dark Honda, he
20
          02_Wednesday May 31                     was positioned to the driver side of
21
          2017170137e0e6b05” at 24:23,            the dark Honda, out of the path of the
22
          Exhibit “1” to Phillips Decl. and       dark Honda, and no person was in
23
          submitted with Defendants’ Joint        danger of being struck by the dark
24
          Application to File Exhibits Under      Honda. At the time of Officer
25
          Seal.                                   Perniciaro’s shots, Officer Leyva was
26
                                                  to the driver side of the dark Honda,
27
28                                             -12-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                      PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
                                                  out of the Honda’s path, in a position
 4
                                                  of safety.
 5
                                                  Leyva Depo. (“Exhibit 1” to
 6
                                                  Masongsong Decl.) at 53:19-22;
 7
                                                  Banuelos Decl. at ¶ 6; Photos 1-3
 8
                                                  (“Exhibits 6-8” to Masongsong
 9
                                                  Decl.); Leyva Int. (“Exhibit 3” to
10
                                                  Masongsong Decl.) at 53:8-10; Clark
11
                                                  Decl. at ¶ 36(b)(iii).
12
                                                  Disputed to the extent that prior to the
13
                                                  gun being pointed at Mr. Herd’s face,
14
                                                  Mr. Herd looked out the front
15
                                                  windshield, and there was no person
16
                                                  standing in the path of the dark
17
                                                  Honda. Herd Decl. at ¶ 5.
18
                                                  Disputed to the extent that if Officer
19
                                                  Leyva felt that he were close to the
20
                                                  path of the dark Honda, then he had
21
                                                  ample room to move out of the way
22
                                                  and in fact was out of the path of the
23
                                                  dark Honda—therefore, there was no
24
                                                  reason for either officer to shoot.
25
                                                  Clark Decl. at ¶ 36(b)(iv).
26
      17. Officer Perniciaro initially moved      Objections: compound; vague and
27
28                                             -13-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
     STATEMENT OF FACTS AND CONLCUSIONS OF LAW; PLAINTIFFS’ ADDITIONAL UNDISPUTED FACTS;
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                    PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
          toward the passenger-side “A pillar” ambiguous as to time.
 4
          of the dark colored Honda and could Disputed to the extent that when
 5
          tell the vehicle was “on.”            Officer Perniciaro was firing into the
 6
                                                dark Honda, he was positioned to the
 7
          See, Perniciaro Decl., ¶ 16.          passenger side of the dark Honda, out
 8
                                                of the path of the dark Honda, and no
 9
                                                person was in danger of being struck
10
                                                by the dark Honda.
11
                                                Leyva Depo. (“Exhibit 1” to
12
                                                Masongsong Decl.) at 66:2-16 at
13
                                                67:3-5, at 68: 3-8; Leyva Int.
14
                                                (“Exhibit 3” to Masongsong Decl.) at
15
                                                53:8-10, 62:24-64:10; Banuelos Decl.
16
                                                at ¶ 4; Herd Depo. (“Exhibit 5” to
17
                                                Masongsong Decl.) at 122:13-18;
18
                                                Photos 1-3 (“Exhibits 6-8” to
19
                                                Masongsong Decl.); Clark Decl. at ¶
20
                                                36(b).
21
                                                Disputed to the extent that prior to the
22
                                                shots starting, Mr. Banuelos looked
23
                                                out the front windshield, and there
24
                                                was no person in the path of the dark
25
                                                Honda. Banuelos Decl. at ¶ 4.
26
                                                Disputed to the extent that prior to the
27
28                                          -14-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                      PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
                                                  gun being pointed at Mr. Herd’s face,
 4
                                                  Mr. Herd looked out the front
 5
                                                  windshield, and there was no person
 6
                                                  standing in the path of the dark
 7
                                                  Honda. Herd Decl. at ¶ 5.
 8
      18. As Officer Perniciaro approached        Objection: compound; the officer’s
 9
          the dark colored Honda on foot, he      subjective state of mind is irrelevant
10
          identified himself as law               under Fed. R. Evid. 401, 402; lacks
11
          enforcement and yelled police           foundation and calls for speculation
12
          commands at Plaintiff Herd and          that Mr. Herd and/or the decedent
13
          Decedent Gleason that were              heard the officer identify himself as
14
          intended to be loud enough for them law enforcement.
15
          to hear.                                Disputed. At the time of the shooting,
16
                                                  Mr. Herd did not know that Officer
17
          See, Perniciaro Depo., 32:21-33:6,      Perniciaro and Officer Leyva were
18
          35:9-35:15, Exhibit “B,” Harrell        police officers.
19
          Decl., ¶ 4; see also, Perniciaro        Herd Depo. (“Exhibit 5” to
20
          Decl., ¶¶ 14, 16, 17.                   Masongsong Decl.) at 134:6-10,
21
                                                  137:17-18.
22
                                                  Disputed. According to Mr. Herd and
23
                                                  Mr. Banuelos, neither Officer Leyva
24
                                                  nor Officer Perniciaro identified
25
                                                  himself as a police officer prior to the
26
                                                  shots starting.
27
28                                             -15-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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                                     CONCLUSIONS OF LAW
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                      PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
                                                  Declaration of Austin Banuelos at ¶ 3;
 4
                                                  Herd Depo. (“Exhibit 5” to
 5
                                                  Masongsong Decl.) at 146:4-19.
 6
      19. The passenger side window of the        Undisputed.
 7
          dark colored Honda was partially
 8
          down.
 9
10
          See, Perniciaro Decl., ¶ 17.
11
      20. Decedent Gleason reversed the           Objections: vague and ambiguous as
12
          dark colored Honda towards Officer to “towards.”
13
          Perniciaro’s police vehicle.            Disputed. According to Mr. Herd,
14
                                                  Officer Perniciaro gave only one
15
          See, Leyva Depo. 17:16-18, Exhibit      command to Mr. Herd and the
16
          “A,” Harrell Decl., ¶ 3; see also,      decedent but did not say “stop,” “raise
17
          Perniciaro Decl., ¶ 19; Leyva Decl.,    your hands” or “turn the car off.”
18
          ¶ 10                                    Herd Depo. (“Exhibit 5” to
19
                                                  Masongsong Decl.) at 120:21-121:5.
20
      21. Officer Perniciaro moved on foot        Objections: compound; vague and
21
          along with the dark colored Honda,      ambiguous as to “along with.”
22
          pointed his weapon at the driver and Disputed as to the commands.
23
          continued to give Gleason law           According to Mr. Herd, Officer
24
          enforcement commands to stop the        Perniciaro gave only one command to
25
          car.                                    Mr. Herd and the decedent but did not
26
                                                  say “stop,” “raise your hands” or
27
28                                             -16-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                      PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
          See, Perniciaro Depo., 40:16-42:1,      “turn the car off.”
 4
          Exhibit “B,” Harrell Decl., ¶ 4;        Herd Depo. (“Exhibit 5” to
 5
          Perniciaro Decl., ¶ 19                  Masongsong Decl.) at 120:21-121:5.
 6
                                                  Disputed to the extent that when
 7
                                                  Officer Perniciaro was firing into the
 8
                                                  dark Honda, he was positioned to the
 9
                                                  passenger side of the dark Honda, out
10
                                                  of the path of the dark Honda, and no
11
                                                  person was in danger of being struck
12
                                                  by the dark Honda.
13
                                                  Leyva Depo. (“Exhibit 1” to
14
                                                  Masongsong Decl.) at 66:2-16 at
15
                                                  67:3-5, at 68: 3-8; Leyva Int.
16
                                                  (“Exhibit 3” to Masongsong Decl.) at
17
                                                  53:8-10, 62:24-64:10; Banuelos Decl.
18
                                                  at ¶ 4; Herd Depo. (“Exhibit 5” to
19
                                                  Masongsong Decl.) at 122:13-18;
20
                                                  Photos 1-3 (“Exhibits 6-8” to
21
                                                  Masongsong Decl.); Clark Decl. at ¶
22
                                                  36(b).
23
                                                  Disputed to the extent that prior to the
24
                                                  shots starting, Mr. Banuelos looked
25
                                                  out the front windshield, and there
26
                                                  was no person in the path of the dark
27
28                                             -17-
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                      PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
                                                  Honda. Banuelos Decl. at ¶ 4.
 4
                                                  Disputed to the extent that prior to the
 5
                                                  gun being pointed at Mr. Herd’s face,
 6
                                                  Mr. Herd looked out the front
 7
                                                  windshield, and there was no person
 8
                                                  standing in the path of the dark
 9
                                                  Honda. Herd Decl. at ¶ 5.
10
      22. Because the passenger side window       Objection: compound; the officer’s
11
          was partially open, Officer             subjective state of mind is irrelevant
12
          Perniciaro believed Decedent            under Fed. R. Evid. 401, 402; lacks
13
          Gleason and Plaintiff Herd heard his foundation and calls for speculation
14
          commands.                               that Mr. Herd and/or the decedent
15
                                                  heard the officer identify himself as
16
          See, Perniciaro Decl., ¶ 19.            law enforcement.
17
                                                  Disputed. According to Mr. Herd,
18
                                                  Officer Perniciaro gave only one
19
                                                  command to Mr. Herd and the
20
                                                  decedent but did not say “stop,” “raise
21
                                                  your hands” or “turn the car off.”
22
                                                  Herd Depo. (“Exhibit 5” to
23
                                                  Masongsong Decl.) at 120:21-121:5.
24
      23. Officer Perniciaro warned Gleason       Disputed. The officers failed to give
25
          that if he did not comply, Officer      the occupants of the dark Honda time
26
          Perniciaro would shoot.                 to comply with any commands or
27
28                                             -18-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                     PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
                                                 warnings, and giving a command or
 4
          See, Perniciaro Depo., 40:16-40:21,    warning without giving time to
 5
          Exhibit “B,” Harrell Decl., ¶ 4; Herd comply is tantamount to not giving a
 6
          Depo., 193:17-194:9, 197:10-16,        command or warning at all.
 7
          Exhibit “C,” Harrell Decl., ¶ 5; see   Clark Decl. at ¶ 36(m).
 8
          also, Perniciaro Decl., ¶ 22           Disputed to the extent that prior to the
 9
                                                 shots starting, Mr. Banuelos looked
10
                                                 out the front windshield, and there
11
                                                 was no person in the path of the dark
12
                                                 Honda. Banuelos Decl. at ¶ 4.
13
                                                 Disputed to the extent that prior to the
14
                                                 gun being pointed at Mr. Herd’s face,
15
                                                 Mr. Herd looked out the front
16
                                                 windshield, and there was no person
17
                                                 standing in the path of the dark
18
                                                 Honda. Herd Decl. at ¶ 5.
19
                                                 Disputed: This was not an immediate
20
                                                 defense of life situation. Clark Decl.
21
                                                 at ¶ 36(a).
22
                                                 Disputed: Police officers are trained
23
                                                 that deadly forced is only justified on
24
                                                 the basis of an “objectively
25
                                                 reasonable” belief that the suspect
26
                                                 poses an immediate threat of death or
27
28                                           -19-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                      PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
                                                  serious bodily injury; in other words,
 4
                                                  a subjective fear is not enough. Clark
 5
                                                  Decl. at ¶ 10.
 6
                                                  Disputed: Under the facts of this case,
 7
                                                  neither Officer Leyva nor Officer
 8
                                                  Perniciaro would have been justified
 9
                                                  in shooting at the dark Honda or its
10
                                                  driver as a fleeing felon. Clark Decl.
11
                                                  at ¶ 36(s).
12                                                Disputed: Under the facts of this case,
13                                                a reasonably well-trained officer
14
                                                  would not have shot at the dark
15
                                                  Honda or its occupants because the
16
                                                  occupants were attempting to steal a
17
                                                  vehicle. Clark Decl. at ¶ 34.
18
      24. Decedent Gleason accelerated            Objections: Officer Leyva’s
19
          forward toward the location where       subjective state of mind is irrelevant
20
          Officer Perniciaro believed Officer     under Fed. R. Evid. 401, 402.
21
          Leyva to be located.                    Disputed to the extent that prior to the
22
                                                  shots starting, Mr. Banuelos looked
23
          See, Perniciaro Decl., ¶ 23; Leyva      out the front windshield, and there
24
          Decl., ¶ 10; Leyva Depo., 35:5-36:2, was no person in the path of the dark
25
          Exhibit “A,” Harrell Decl., ¶ 3;        Honda. Banuelos Decl. at ¶ 4.
26
          Perniciaro Depo., 42:2-8, 44:12-        Disputed to the extent that prior to the
27
28                                             -20-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                      PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
          44:14, Exhibit “B,” Harrell Decl., ¶    gun being pointed at Mr. Herd’s face,
 4
          4; see also, Wal-Mart Surveillance      Mr. Herd looked out the front
 5
          Video, “Export_EXTERIOR                 windshield, and there was no person
 6
          FRONT 02_Wednesday May 31               standing in the path of the dark
 7
          2017170137e0e6b05” at 24:28,            Honda. Herd Decl. at ¶ 5.
 8
          Exhibit “1” to Phillips Decl. and       Disputed. According to Mr. Herd and
 9
          submitted with Defendants’ Joint        Mr. Banuelos, the Honda was not
10
          Application to File Exhibits Under      moving when the shots started.
11
          Seal; Wal-Mart Surveillance Video,      Banuelos Decl. at ¶ 5; Herd Depo.
12
          “Export_PARKING LOT POLE                (“Exhibit 5” to Masongsong Decl.) at
13
          06_Wednesday May 31                     196:12-21, 198:1-4, 230:12-22,
14
          2017170137 45bc446” at 24:27,           255:24-256:13.
15
          Exhibit “1” to Phillips Decl. and       Disputed. The dark Honda was not
16
          submitted with Defendants’ Joint        moving when the shots started and
17
          Application to File Exhibits Under      then slowly rolled forward after the
18
          Seal.                                   shots started. Clark Decl. at ¶ 30.
19
                                                  Disputed to the extent that Officer
20
                                                  Leyva had his undercover vehicle
21
                                                  available to him for cover. Clark
22
                                                  Decl. at ¶ 29.
23
                                                  Disputed: Officer Perniciaro did not
24
                                                  see Officer Leyva in the path of the
25
                                                  dark Honda at any time.
26
                                                  Perniciaro Depo. (“Exhibit 2” to
27
28                                             -21-
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                    PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
                                                Masongsong Decl.) at 46:10-13,
 4
                                                60:21-23, at 61:6-10.
 5
                                                Disputed: Officer Perniciaro admits
 6
                                                that if he had known at the time of the
 7
                                                shooting that Officer Leyva was not
 8
                                                in the path of the dark Honda, then
 9
                                                Officer Perniciaro would not have
10
                                                fired any shots.
11
                                                Perniciaro Depo. (“Exhibit 2” to
12
                                                Masongsong Decl.) at 60:21-23, at
13
                                                62:2-14.
14
                                                Disputed. Officer Perniciaro knew or
15
                                                should have known that Officer
16
                                                Leyva was not in the path of the dark
17
                                                Honda, based on the officers’ training
18
                                                that an officer should not stand in the
19
                                                path of a vehicle the officer thinks
20
                                                might move. Clark Decl. at ¶
21
                                                36(b)(v).
22
                                                Disputed. Officer Leyva cut off the
23
                                                dark Honda’s path of travel with his
24
                                                unmarked vehicle.
25
                                                Perniciaro Depo. (“Exhibit 2” to
26
                                                Masongsong Decl.) at 29:10-12;
27
28                                          -22-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                      PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
                                                  Perniciaro Int. (“Exhibit 4” to
 4
                                                  Masongsong Decl.) at 29:20-23;
 5
                                                  Leyva Int. (“Exhibit 3” to
 6
                                                  Masongsong Decl.) at 36:26.
 7
                                                  Disputed. Police officers are trained
 8
                                                  not to stand in the path of a vehicle
 9
                                                  they think might move. Clark Decl. at
10
                                                  ¶ 21.
11
                                                  Disputed to the extent that if Officer
12
                                                  Leyva felt that he were close to the
13
                                                  path of the dark Honda, then he had
14
                                                  ample room to move out of the way
15
                                                  and in fact was out of the path of the
16
                                                  dark Honda—therefore, there was no
17
                                                  reason for either officer to shoot.
18
                                                  Clark Decl. at ¶ 36(b)(iv).
19
      25. The left-front portion of the dark      Objection: calls for speculation;
20
          colored Honda was approximately         vague and ambiguous; assumes facts
21
          4.3 feet from Officer Leyva at the      not in evidence as to “acclerating.”
22
          time Decedent Gleason started           Disputed: Officer Perniciaro did not
23
          accelerating forward.                   see Officer Leyva in the path of the
24
                                                  dark Honda at any time.
25
          See, Declaration of Louis Peck          Perniciaro Depo. (“Exhibit 2” to
26
          (“Peck Decl.,”), ¶ 5a, and pgs. 11-16 Masongsong Decl.) at 46:10-13,
27
28                                             -23-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                    PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
          of Exhibit “2” attached thereto.      60:21-23, at 61:6-10.
 4
                                                Disputed: Officer Perniciaro admits
 5
                                                that if he had known at the time of the
 6
                                                shooting that Officer Leyva was not
 7
                                                in the path of the dark Honda, then
 8
                                                Officer Perniciaro would not have
 9
                                                fired any shots.
10
                                                Perniciaro Depo. (“Exhibit 2” to
11
                                                Masongsong Decl.) at 60:21-23, at
12
                                                62:2-14.
13
                                                Disputed. Officer Perniciaro knew or
14
                                                should have known that Officer
15
                                                Leyva was not in the path of the dark
16
                                                Honda, based on the officers’ training
17
                                                that an officer should not stand in the
18
                                                path of a vehicle the officer thinks
19
                                                might move. Clark Decl. at ¶
20
                                                36(b)(v).
21
                                                Disputed to the extent that prior to the
22
                                                shots starting, Mr. Banuelos looked
23
                                                out the front windshield, and there
24
                                                was no person in the path of the dark
25
                                                Honda. Banuelos Decl. at ¶ 4.
26
                                                Disputed to the extent that prior to the
27
28                                           -24-
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                    PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
                                                gun being pointed at Mr. Herd’s face,
 4
                                                Mr. Herd looked out the front
 5
                                                windshield, and there was no person
 6
                                                standing in the path of the dark
 7
                                                Honda. Herd Decl. at ¶ 5.
 8
                                                Disputed. According to Mr. Herd and
 9
                                                Mr. Banuelos, the Honda was not
10
                                                moving when the shots started.
11
                                                Banuelos Decl. at ¶ 5; Herd Depo.
12
                                                (“Exhibit 5” to Masongsong Decl.) at
13
                                                196:12-21, 198:1-4, 230:12-22,
14
                                                255:24-256:13.
15
                                                Disputed. The dark Honda was not
16
                                                moving when the shots started and
17
                                                then slowly rolled forward after the
18
                                                shots started. Clark Decl. at ¶ 30.
19
                                                Disputed to the extent that Officer
20
                                                Leyva had his undercover vehicle
21
                                                available to him for cover. Clark
22
                                                Decl. at ¶ 29.
23
                                                Disputed. Officer Leyva cut off the
24
                                                dark Honda’s path of travel with his
25
                                                unmarked vehicle.
26
                                                Perniciaro Depo. (“Exhibit 2” to
27
28                                          -25-
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                    PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
                                                Masongsong Decl.) at 29:10-12;
 4
                                                Perniciaro Int. (“Exhibit 4” to
 5
                                                Masongsong Decl.) at 29:20-23;
 6
                                                Leyva Int. (“Exhibit 3” to
 7
                                                Masongsong Decl.) at 36:26.
 8
                                                Disputed: Police officers are trained
 9
                                                that deadly forced is only justified on
10
                                                the basis of an “objectively
11
                                                reasonable” belief that the suspect
12
                                                poses an immediate threat of death or
13
                                                serious bodily injury; in other words,
14
                                                a subjective fear is not enough.
15
                                                Clark Decl. at ¶ 10.
16
                                                Disputed. Police officers are trained
17
                                                not to stand in the path of a vehicle
18
                                                they think might move. Clark Decl. at
19
                                                ¶ 21.
20
                                                Disputed to the extent that if Officer
21
                                                Leyva felt that he were close to the
22
                                                path of the dark Honda, then he had
23
                                                ample room to move out of the way
24
                                                and in fact was out of the path of the
25
                                                dark Honda—therefore, there was no
26
                                                reason for either officer to shoot.
27
28                                          -26-
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                                     CONCLUSIONS OF LAW
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                     PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
                                                Clark Decl. at ¶ 36(b)(iv).
 4
                                                Disputed. There was no body damage
 5
                                                to Officer Leyva’s white truck.
 6
                                                Leyva Depo. (“Exhibit 1” to
 7
                                                Masongsong Decl.) at 39:13-15;
 8
                                                Perniciaro Depo. (“Exhibit 2” to
 9
                                                Masongsong Decl.) at 36:3-9.
10
                                                Disputed. Officer Leyva did not see
11
                                                any tire marks on the roadway left
12
                                                from the Honda.
13
                                                Leyva Depo. (“Exhibit 1” to
14
                                                Masongsong Decl.) at 40:24-41:1.
15
                                                Disputed. The dark Honda could not
16
                                                have been traveling at any substantial
17
                                                speed at the time of impact with
18
                                                Officer Leyva’s undercover vehicle or
19
                                                when the dark Honda moved forward
20
                                                after the shots started, considering
21
                                                that there is no body damage to
22
                                                Officer Leyva’s white truck and no
23
                                                damage to the front of the dark
24
                                                Honda. Clark Decl. at ¶ 36(c).
25
      26. At his rate of acceleration, Decedent Objection: calls for speculation and
26
          Gleason could have reached Officer    lacks foundation; Fed. R. Evid. 702.
27
28                                           -27-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
     STATEMENT OF FACTS AND CONLCUSIONS OF LAW; PLAINTIFFS’ ADDITIONAL UNDISPUTED FACTS;
                                     CONCLUSIONS OF LAW
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                      PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
          Leyva’s initial position in just        Disputed: Officer Perniciaro did not
 4
          0.8 seconds, arriving at a speed of 7   see Officer Leyva in the path of the
 5
          miles per hour.                         dark Honda at any time.
 6
                                                  Perniciaro Depo. (“Exhibit 2” to
 7
          See, Peck Decl. ¶¶ 5b, 5c, and pgs.     Masongsong Decl.) at 46:10-13,
 8
          11- 16 of Exhibit “2” attached          60:21-23, at 61:6-10.
 9
          thereto.                                Disputed: Officer Perniciaro admits
10
                                                  that if he had known at the time of the
11
                                                  shooting that Officer Leyva was not
12
                                                  in the path of the dark Honda, then
13
                                                  Officer Perniciaro would not have
14
                                                  fired any shots.
15
                                                  Perniciaro Depo. (“Exhibit 2” to
16
                                                  Masongsong Decl.) at 60:21-23, at
17
                                                  62:2-14.
18
                                                  Disputed. Officer Perniciaro knew or
19
                                                  should have known that Officer
20
                                                  Leyva was not in the path of the dark
21
                                                  Honda, based on the officers’ training
22
                                                  that an officer should not stand in the
23
                                                  path of a vehicle the officer thinks
24
                                                  might move. Clark Decl. at ¶
25
                                                  36(b)(v).
26
                                                  Disputed to the extent that prior to the
27
28                                           -28-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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                                     CONCLUSIONS OF LAW
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                    PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
                                                shots starting, Mr. Banuelos looked
 4
                                                out the front windshield, and there
 5
                                                was no person in the path of the dark
 6
                                                Honda. Banuelos Decl. at ¶ 4.
 7
                                                Disputed to the extent that prior to the
 8
                                                gun being pointed at Mr. Herd’s face,
 9
                                                Mr. Herd looked out the front
10
                                                windshield, and there was no person
11
                                                standing in the path of the dark
12
                                                Honda. Herd Decl. at ¶ 5.
13
                                                Disputed. According to Mr. Herd and
14
                                                Mr. Banuelos, the Honda was not
15
                                                moving when the shots started.
16
                                                Banuelos Decl. at ¶ 5; Herd Depo.
17
                                                (“Exhibit 5” to Masongsong Decl.) at
18
                                                196:12-21, 198:1-4, 230:12-22,
19
                                                255:24-256:13.
20
                                                Disputed. The dark Honda was not
21
                                                moving when the shots started and
22
                                                then slowly rolled forward after the
23
                                                shots started. Clark Decl. at ¶ 30.
24
                                                Disputed to the extent that Officer
25
                                                Leyva had his undercover vehicle
26
                                                available to him for cover. Clark
27
28                                          -29-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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                                     CONCLUSIONS OF LAW
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                    PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
                                                Decl. at ¶ 29.
 4
                                                Disputed: This was not an immediate
 5
                                                defense of life situation.
 6
                                                Clark Decl. at ¶ 36(a).
 7
                                                Disputed: Police officers are trained
 8
                                                that deadly forced is only justified on
 9
                                                the basis of an “objectively
10
                                                reasonable” belief that the suspect
11
                                                poses an immediate threat of death or
12
                                                serious bodily injury; in other words,
13
                                                a subjective fear is not enough.
14
                                                Clark Decl. at ¶ 10.
15
                                                Disputed: When Officer Perniciaro
16
                                                was firing into the dark Honda, he
17
                                                was positioned to the driver side of
18
                                                the dark Honda, out of the path of the
19
                                                dark Honda, and no person was in
20
                                                danger of being struck by the dark
21
                                                Honda. At the time of Officer
22
                                                Perniciaro’s shots, Officer Leyva was
23
                                                to the driver side of the dark Honda,
24
                                                out of the Honda’s path, in a position
25
                                                of safety.
26
                                                Leyva Depo. (“Exhibit 1” to
27
28                                          -30-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
     STATEMENT OF FACTS AND CONLCUSIONS OF LAW; PLAINTIFFS’ ADDITIONAL UNDISPUTED FACTS;
                                     CONCLUSIONS OF LAW
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                    PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
                                                Masongsong Decl.) at 53:19-22;
 4
                                                Banuelos Decl. at ¶ 6; Photos 1-3
 5
                                                (“Exhibits 6-8” to Masongsong
 6
                                                Decl.); Leyva Int. (“Exhibit 3” to
 7
                                                Masongsong Decl.) at 53:8-10; Clark
 8
                                                Decl. at ¶ 36(b)(iii).
 9
                                                Disputed: There are no bullet strikes
10
                                                to the front windshield of the Honda.
11
                                                Leyva Depo. (“Exhibit 1” to
12
                                                Masongsong Decl.) at 41:23- 42:1;
13
                                                Photos 1-2 (“Exhibits 6-7” to
14
                                                Masongsong Decl.).
15
                                                Disputed. Officer Leyva cut off the
16
                                                dark Honda’s path of travel with his
17
                                                unmarked vehicle.
18
                                                Perniciaro Depo. (“Exhibit 2” to
19
                                                Masongsong Decl.) at 29:10-12;
20
                                                Perniciaro Int. (“Exhibit 4” to
21
                                                Masongsong Decl.) at 29:20-23;
22
                                                Leyva Int. (“Exhibit 3” to
23
                                                Masongsong Decl.) at 36:26.
24
                                                Disputed to the extent that if Officer
25
                                                Leyva felt that he were close to the
26
                                                path of the dark Honda, then he had
27
28                                          -31-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
     STATEMENT OF FACTS AND CONLCUSIONS OF LAW; PLAINTIFFS’ ADDITIONAL UNDISPUTED FACTS;
                                     CONCLUSIONS OF LAW
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                        PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
                                                ample room to move out of the way
 4
                                                and in fact was out of the path of the
 5
                                                dark Honda at the time of all of the
 6
                                                shots—therefore, there was no reason
 7
                                                for either officer to shoot. Clark Decl.
 8
                                                at ¶.
 9
                                                Disputed. There was no body damage
10
                                                to Officer Leyva’s white truck.
11
                                                Leyva Depo. (“Exhibit 1” to
12
                                                Masongsong Decl.) at 39:13-15;
13
                                                Perniciaro Depo. (“Exhibit 2” to
14
                                                Masongsong Decl.) at 36:3-9.
15
                                                Disputed. Officer Leyva did not see
16
                                                any tire marks on the roadway left
17
                                                from the Honda.
18
                                                Leyva Depo. (“Exhibit 1” to
19
                                                Masongsong Decl.) at 40:24-41:1.
20
                                                Disputed. The dark Honda could not
21
                                                have been traveling at any substantial
22
                                                speed at the time of impact with
23
                                                Officer Leyva’s undercover vehicle or
24
                                                when the dark Honda moved forward
25
                                                after the shots started, considering
26
                                                that there is no body damage to
27
28                                          -32-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                      PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
                                                  Officer Leyva’s white truck and no
 4
                                                  damage to the front of the dark
 5
                                                  Honda. Clark Decl. at ¶.
 6
      27. As Decedent Gleason drove               Disputed: Officer Perniciaro did not
 7
          forward, Officer Perniciaro fired       see Officer Leyva in the path of the
 8
          four rounds in succession at            dark Honda at any time.
 9
          Decedent Gleason.                       Perniciaro Depo. (“Exhibit 2” to
10
                                                  Masongsong Decl.) at 46:10-13,
11
          See, Perniciaro Depo., 43:3-43:12,      60:21-23, at 61:6-10.
12
          44:7-11, Exhibit “B,” Harrell Decl.,    Disputed: Officer Perniciaro admits
13
          ¶ 4; Perniciaro Decl., ¶ 23.            that if he had known at the time of the
14
                                                  shooting that Officer Leyva was not
15
                                                  in the path of the dark Honda, then
16
                                                  Officer Perniciaro would not have
17
                                                  fired any shots.
18
                                                  Perniciaro Depo. (“Exhibit 2” to
19
                                                  Masongsong Decl.) at 60:21-23, at
20
                                                  62:2-14.
21
                                                  Disputed. Officer Perniciaro knew or
22
                                                  should have known that Officer
23
                                                  Leyva was not in the path of the dark
24
                                                  Honda, based on the officers’ training
25
                                                  that an officer should not stand in the
26
                                                  path of a vehicle the officer thinks
27
28                                             -33-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                    PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
                                                might move. Clark Decl. at ¶
 4
                                                36(b)(v).
 5
                                                Disputed. Officer Leyva cut off the
 6
                                                dark Honda’s path of travel with his
 7
                                                unmarked vehicle.
 8
                                                Perniciaro Depo. (“Exhibit 2” to
 9
                                                Masongsong Decl.) at 29:10-12;
10
                                                Perniciaro Int. (“Exhibit 4” to
11
                                                Masongsong Decl.) at 29:20-23;
12
                                                Leyva Int. (“Exhibit 3” to
13
                                                Masongsong Decl.) at 36:26.
14
                                                Disputed to the extent that prior to the
15
                                                shots starting, Mr. Banuelos looked
16
                                                out the front windshield, and there
17
                                                was no person in the path of the dark
18
                                                Honda. Banuelos Decl. at ¶ 4.
19
                                                Disputed to the extent that prior to the
20
                                                gun being pointed at Mr. Herd’s face,
21
                                                Mr. Herd looked out the front
22
                                                windshield, and there was no person
23
                                                standing in the path of the dark
24
                                                Honda. Herd Decl. at ¶ 5.
25
                                                Disputed. According to Mr. Herd and
26
                                                Mr. Banuelos, the Honda was not
27
28                                          -34-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                    PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
                                                moving when the shots started.
 4
                                                Banuelos Decl. at ¶ 5; Herd Depo.
 5
                                                (“Exhibit 5” to Masongsong Decl.) at
 6
                                                196:12-21, 198:1-4, 230:12-22,
 7
                                                255:24-256:13.
 8
                                                Disputed. The dark Honda was not
 9
                                                moving when the shots started and
10
                                                then slowly rolled forward after the
11
                                                shots started. Clark Decl. at ¶ 30.
12
                                                Disputed to the extent that Officer
13
                                                Leyva had his undercover vehicle
14
                                                available to him for cover. Clark
15
                                                Decl. at ¶ 29.
16
                                                Disputed: This was not an immediate
17
                                                defense of life situation.
18
                                                Clark Decl. at ¶ 36(a).
19
                                                Disputed: Police officers are trained
20
                                                that deadly forced is only justified on
21
                                                the basis of an “objectively
22
                                                reasonable” belief that the suspect
23
                                                poses an immediate threat of death or
24
                                                serious bodily injury; in other words,
25
                                                a subjective fear is not enough.
26
                                                Clark Decl. at ¶ 10.
27
28                                          -35-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                    PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
                                                Disputed: When Officer Perniciaro
 4
                                                was firing into the dark Honda, he
 5
                                                was positioned to the driver side of
 6
                                                the dark Honda, out of the path of the
 7
                                                dark Honda, and no person was in
 8
                                                danger of being struck by the dark
 9
                                                Honda. At the time of Officer
10
                                                Perniciaro’s shots, Officer Leyva was
11
                                                to the driver side of the dark Honda,
12
                                                out of the Honda’s path, in a position
13
                                                of safety.
14
                                                Leyva Depo. (“Exhibit 1” to
15
                                                Masongsong Decl.) at 53:19-22;
16
                                                Banuelos Decl. at ¶ 6; Photos 1-3
17
                                                (“Exhibits 6-8” to Masongsong
18
                                                Decl.); Leyva Int. (“Exhibit 3” to
19
                                                Masongsong Decl.) at 53:8-10; Clark
20
                                                Decl. at ¶ 36(b)(iii).
21
                                                Disputed: There are no bullet strikes
22
                                                to the front windshield of the Honda.
23
                                                Leyva Depo. (“Exhibit 1” to
24
                                                Masongsong Decl.) at 41:23- 42:1;
25
                                                Photos 1-2 (“Exhibits 6-7” to
26
                                                Masongsong Decl.).
27
28                                          -36-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                         PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
                                                     Disputed. There was no body damage
 4
                                                     to Officer Leyva’s white truck.
 5
                                                     Leyva Depo. (“Exhibit 1” to
 6
                                                     Masongsong Decl.) at 39:13-15;
 7
                                                     Perniciaro Depo. (“Exhibit 2” to
 8
                                                     Masongsong Decl.) at 36:3-9.
 9
                                                     Disputed. Officer Leyva did not see
10
                                                     any tire marks on the roadway left
11
                                                     from the Honda.
12
                                                     Leyva Depo. (“Exhibit 1” to
13
                                                     Masongsong Decl.) at 40:24-41:1.
14
                                                     Disputed. The dark Honda could not
15
                                                     have been traveling at any substantial
16
                                                     speed at the time of impact with
17
                                                     Officer Leyva’s undercover vehicle or
18
                                                     when the dark Honda moved forward
19
                                                     after the shots started, considering
20
                                                     that there is no body damage to
21
                                                     Officer Leyva’s white truck and no
22
                                                     damage to the front of the dark
23
                                                     Honda. Clark Decl. at ¶ 36(c).
24
      28. Only a few seconds elapsed from            Objection: vague and ambiguous.
25
          the time the Officers initiated their
26
          contact with Plaintiff Herd and
27
28                                                -37-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
     STATEMENT OF FACTS AND CONLCUSIONS OF LAW; PLAINTIFFS’ ADDITIONAL UNDISPUTED FACTS;
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                       PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
          Gleason and the time shots were
 4
          fired.
 5
 6
          See, Wal-Mart Surveillance Video,
 7
          “Export EXTERIOR FRONT
 8
          02_Wednesday May 31
 9
          2017170137
10
          e0e6b05” at 24:17 – 24:28, Exhibit
11
          “1” to Phillips Decl. and submitted
12
          with Defendants’ Joint Application
13
          to File Exhibits Under Seal; see
14
          also, Wal- Mart Surveillance Video,
15
          “Export PARKING LOT LIGHT
16
          POLE 06_Wednesday May 31
17
          2017170137 45bc446” at 24:16 –
18
          24:27, Exhibit “1” to Phillips Decl.
19
          and submitted with Defendants’
20
          Joint Application to File Exhibits
21
          Under Seal
22
      29. Officer Perniciaro fired in defense      Objection: compound; the officer’s
23
          of his partner, Officer Leyva, as he     subjective state of mind is irrelevant
24
          believed Officer Leyva’s safety was      under Fed. R. Evid. 401, 402.
25
          directly and imminently threatened       Disputed: Officer Perniciaro did not
26
          by Decedent Gleason using his            see Officer Leyva in the path of the
27
28                                              -38-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                      PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
          vehicle as a weapon to evade arrest.    dark Honda at any time.
 4
                                                  Perniciaro Depo. (“Exhibit 2” to
 5
          See, Perniciaro Depo., 52:3-52:14,      Masongsong Decl.) at 46:10-13,
 6
          Exhibit “B,” Harrell Decl., ¶ 4; see    60:21-23, at 61:6-10.
 7
          also, Perniciaro Decl., ¶¶ 23, 29       Disputed: Officer Perniciaro admits
 8
                                                  that if he had known at the time of the
 9
                                                  shooting that Officer Leyva was not
10
                                                  in the path of the dark Honda, then
11
                                                  Officer Perniciaro would not have
12
                                                  fired any shots.
13
                                                  Perniciaro Depo. (“Exhibit 2” to
14
                                                  Masongsong Decl.) at 60:21-23, at
15
                                                  62:2-14.
16
                                                  Disputed. Officer Perniciaro knew or
17
                                                  should have known that Officer
18
                                                  Leyva was not in the path of the dark
19
                                                  Honda, based on the officers’ training
20
                                                  that an officer should not stand in the
21
                                                  path of a vehicle the officer thinks
22
                                                  might move. Clark Decl. at ¶
23
                                                  36(b)(v).
24
                                                  Disputed to the extent that prior to the
25
                                                  shots starting, Mr. Banuelos looked
26
                                                  out the front windshield, and there
27
28                                             -39-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                    PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
                                                was no person in the path of the dark
 4
                                                Honda. Banuelos Decl. at ¶ 4.
 5
                                                Disputed to the extent that prior to the
 6
                                                gun being pointed at Mr. Herd’s face,
 7
                                                Mr. Herd looked out the front
 8
                                                windshield, and there was no person
 9
                                                standing in the path of the dark
10
                                                Honda. Herd Decl. at ¶ 5.
11
                                                Disputed. According to Mr. Herd and
12
                                                Mr. Banuelos, the Honda was not
13
                                                moving when the shots started.
14
                                                Banuelos Decl. at ¶ 5; Herd Depo.
15
                                                (“Exhibit 5” to Masongsong Decl.) at
16
                                                196:12-21, 198:1-4, 230:12-22,
17
                                                255:24-256:13.
18
                                                Disputed. The dark Honda was not
19
                                                moving when the shots started and
20
                                                then slowly rolled forward after the
21
                                                shots started. Clark Decl. at ¶ 30.
22
                                                Disputed to the extent that Officer
23
                                                Leyva had his undercover vehicle
24
                                                available to him for cover. Clark
25
                                                Decl. at ¶ 29.
26
                                                Disputed: This was not an immediate
27
28                                          -40-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
     STATEMENT OF FACTS AND CONLCUSIONS OF LAW; PLAINTIFFS’ ADDITIONAL UNDISPUTED FACTS;
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                    PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
                                                defense of life situation.
 4
                                                Clark Decl. at ¶ 36(a).
 5
                                                Disputed: Police officers are trained
 6
                                                that deadly forced is only justified on
 7
                                                the basis of an “objectively
 8
                                                reasonable” belief that the suspect
 9
                                                poses an immediate threat of death or
10
                                                serious bodily injury; in other words,
11
                                                a subjective fear is not enough.
12
                                                Clark Decl. at ¶ 10.
13
                                                Disputed: When Officer Perniciaro
14
                                                was firing into the dark Honda, he
15
                                                was positioned to the driver side of
16
                                                the dark Honda, out of the path of the
17
                                                dark Honda, and no person was in
18
                                                danger of being struck by the dark
19
                                                Honda. At the time of Officer
20
                                                Perniciaro’s shots, Officer Leyva was
21
                                                to the driver side of the dark Honda,
22
                                                out of the Honda’s path, in a position
23
                                                of safety.
24
                                                Leyva Depo. (“Exhibit 1” to
25
                                                Masongsong Decl.) at 53:19-22;
26
                                                Banuelos Decl. at ¶ 6; Photos 1-3
27
28                                          -41-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
     STATEMENT OF FACTS AND CONLCUSIONS OF LAW; PLAINTIFFS’ ADDITIONAL UNDISPUTED FACTS;
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                      PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
                                                  (“Exhibits 6-8” to Masongsong
 4
                                                  Decl.); Leyva Int. (“Exhibit 3” to
 5
                                                  Masongsong Decl.) at 53:8-10; Clark
 6
                                                  Decl. at ¶ 36(b)(iii).
 7
                                                  Disputed: There are no bullet strikes
 8
                                                  to the front windshield of the Honda.
 9
                                                  Leyva Depo. (“Exhibit 1” to
10
                                                  Masongsong Decl.) at 41:23- 42:1;
11
                                                  Photos 1-2 (“Exhibits 6-7” to
12
                                                  Masongsong Decl.).
13
      30. Decedent Gleason was struck by          Objection: Fed. R. Evid. 702; calls for
14
          several gunshots, including three       speculation.
15
          rounds from Officer Perniciaro.         Undisputed that the decedent was
16
                                                  struck by gunshots.
17
          See, Declaration of Lucien C. Haag
18
          (“Haag Decl.”), ¶¶ 5, 6, and pgs. 5-6
19
          of Exhibit “1” thereto
20
      31. Plaintiff Herd was struck by one        Undisputed.
21
          gunshot in his left clavicle.
22
23
          See, Herd Depo., 149:15-152:16,
24
          Exhibit “C,” Harrell Decl., ¶ 5; see
25
          also, Haag Decl., ¶ 6 and pgs. 5-6 of
26
          Exhibit “1” thereto
27
28                                            -42-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
     STATEMENT OF FACTS AND CONLCUSIONS OF LAW; PLAINTIFFS’ ADDITIONAL UNDISPUTED FACTS;
                                     CONCLUSIONS OF LAW
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                      PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
      32. Plaintiff Herd was shot by Officer      Objection: Fed. R. Evid. 702; calls for
 4
          Leyva, not Officer Perniciaro.          speculation.
 5
                                                  Disputed. Prior the shots starting, Mr.
 6
          See, Haag Decl., ¶¶ 5-6 and pgs. 5-6 Herd ducked as a natural instinct to
 7
          of Exhibit “1” attached thereto         cover himself from the gun pointed in
 8
                                                  his face through the open passenger
 9
                                                  window.
10
                                                  Herd Depo. (“Exhibit 5” to
11
                                                  Masongsong Decl.) at 13:21-24,
12
                                                  137:17-19, 141:18-20, 145:19-20,
13
                                                  146:4-19.
14
                                                  Disputed. According to Mr. Herd,
15
                                                  when Officer Perniciaro pointed his
16
                                                  gun in Mr. Herd’s face, the barrel of
17
                                                  his gun was approximately 3-5 inches
18
                                                  from Mr. Herd’s nose.
19
                                                  Herd Depo. (“Exhibit 5” to
20
                                                  Masongsong Decl.) at 232:13-20.
21
                                                  Disputed. Mr. Herd was struck by a
22
                                                  gunshot in the back left shoulder area.
23
                                                  The gunshot wound has a back to
24
                                                  front trajectory with no exit wound.
25
                                                  Herd Decl. at ¶ 7. Circumstantial
26
                                                  evidence indicates that one of Officer
27
28                                             -43-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
     STATEMENT OF FACTS AND CONLCUSIONS OF LAW; PLAINTIFFS’ ADDITIONAL UNDISPUTED FACTS;
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                    PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
                                                Perniciaro’s shots may have struck
 4
                                                Mr. Herd.
 5
      33. Plaintiff Herd does not know where    Objections: vague and ambiguous as
 6
          the bullet that struck him came       to “what happened during the
 7
          from, nor does he know what           shooting.”
 8
          happened during the shooting.         Disputed. Prior the shots starting, Mr.
 9
                                                Herd ducked as a natural instinct to
10
          See, Herd Depo., 149:15-25, 234:3-    cover himself from the gun pointed in
11
          235:20, Exhibit “C,” Harrell Decl., ¶ his face through the open passenger
12
          5.                                    window.
13
                                                Herd Depo. (“Exhibit 5” to
14
                                                Masongsong Decl.) at 13:21-24,
15
                                                137:17-19, 141:18-20, 145:19-20,
16
                                                146:4-19.
17
                                                Disputed. According to Mr. Herd,
18
                                                when Officer Perniciaro pointed his
19
                                                gun in Mr. Herd’s face, the barrel of
20
                                                his gun was approximately 3-5 inches
21
                                                from Mr. Herd’s nose.
22
                                                Herd Depo. (“Exhibit 5” to
23
                                                Masongsong Decl.) at 232:13-20.
24
                                                Disputed. Mr. Herd was struck by a
25
                                                gunshot in the back left shoulder area.
26
                                                The gunshot wound has a back to
27
28                                          -44-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                       PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
                                                   front trajectory with no exit wound.
 4
                                                   Herd Decl. at ¶ 7. Circumstantial
 5
                                                   evidence indicates that one of Officer
 6
                                                   Perniciaro’s shots may have struck
 7
                                                   Mr. Herd.
 8
      34. After the shooting, Officer Leyva        Objection: irrelevant, as Plaintiffs
 9
          radioed for medical assistance at        dismiss their claims for denial of
10
          Officer Perniciaro’s direction.          medical care.
11
                                                   Undisputed that this is Officer
12
          See, Perniciaro Depo., 53:11-54:9,       Perniciaro’s testimony.
13
          66:14-66:18, Exhibit “B,” Harrell
14
          Decl., ¶ 4; Perniciaro Decl., ¶ 27;
15
          see also, CAD Printout for Incident
16
          Number HE171510035 at 7:57:16,
17
          CHP-000717 Exhibit “2,”
18
          Declaration of Olivia Dunlop
19
          (“Dunlop Decl.”), ¶ 4; Dispatch
20
          Audio at 9:37, “HE171510035 LFE
21
          RADIO,” FON000512, Exhibit “1”
22
          to Dunlop Decl. and submitted with
23
          Defendants’ Joint Application to
24
          File Exhibits Under Seal.
25
      35. Officer Perniciaro retrieved a           Objection: irrelevant, as Plaintiffs
26
          trauma kit and began rendering           dismiss their claims for denial of
27
28                                              -45-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
     STATEMENT OF FACTS AND CONLCUSIONS OF LAW; PLAINTIFFS’ ADDITIONAL UNDISPUTED FACTS;
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                       PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
          medical aid to Gleason by                medical care.
 4
          bandaging his head.                      Undisputed that this is Officer
 5
                                                   Perniciaro’s testimony.
 6
          See, Perniciaro Decl., ¶ 28.
 7
      36. Officer Perniciaro also rendered         Objection: irrelevant, as Plaintiffs
 8
          medical aid to Plaintiff Herd by         dismiss their claims for denial of
 9
          applying bandaging and pressure to       medical care.
10
          an entrance wound toward the back        Undisputed that this is Officer
11
          of Plaintiff Herd’s left shoulder.       Perniciaro’s testimony.
12
13
          See, Perniciaro Depo., 66:4-9,
14
          Exhibit “B,” Harrell Decl., ¶ 4; see
15
          also, Perniciaro Decl., ¶ 28.
16
      37. Decedent Gleason was transported         Objection: irrelevant, as Plaintiffs
17
          to Desert Valley Hospital.               dismiss their claims for denial of
18
                                                   medical care.
19
          See, Phillips Decl., ¶ 7, see also,      Undisputed.
20
          San Bernardino County Fire
21
          Department Records, CHP000683-
22
          CHP000688, Exhibit “D,” Harrell
23
          Decl., ¶ 6
24
      38. Plaintiff Herd was transported and       Objection: irrelevant, as Plaintiffs
25
          treated at Arrowhead Medical             dismiss their claims for denial of
26
          Center.                                  medical care.
27
28                                              -46-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                      PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
                                                  Undisputed.
 4
          See, Herd Depo., 56:19-57:16; see
 5
          also, Phillips Decl., ¶ 7; San
 6
          Bernardino County Fire Department
 7
          Records, CHP000689-CHP000691,
 8
          Exhibit “E,” Harrell Decl., ¶ 7
 9
      39. Decedent Gleason was under the          Objection: irrelevant, as this
10
          influence of methamphetamine at         information was unknown to the
11
          the time of the shooting.               officers at the time of the shooting.
12
                                                  Fed. R. Evid. 401, 402; Graham v.
13
          See, Declaration of Vina Spiehler       Connor, 490 U.S. 386 (1989). The
14
          (“Spiehler Decl.,”) ¶ 5, and pgs. 4-5   probative value outweighs the
15
          of Exhibit “2” attached thereto; see    prejudicial effect under Fed. R. Evid.
16
          also, Deposition of Kristen Steward, 403; improper character evidence
17
          14:15-15:14, 16:4-24, 17:7-22:2,        under Fed. R. Evid. 404.
18
          23:4-22, 35:14-36:11, 43:9-14, 45:5-
19
          46:8, 70:4-75:13, 82:12-83:21 and
20
          Exhibits 319, 321, and 323 thereto,
21
          Harrell Decl., ¶ 8
22
      40. In a police interview after the         Objection: irrelevant, as this
23
          shooting, Plaintiff Herd admitted to    information was unknown to the
24
          recent use of heroin and                officers at the time of the shooting.
25
          methamphetamine.                        Fed. R. Evid. 401, 402; Graham v.
26
                                                  Connor, 490 U.S. 386 (1989). The
27
28                                            -47-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
     STATEMENT OF FACTS AND CONLCUSIONS OF LAW; PLAINTIFFS’ ADDITIONAL UNDISPUTED FACTS;
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                      PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
          See, Herd Interview Transcript,         probative value outweighs the
 4
          29:4-29:16, CHP000296, Exhibit          prejudicial effect under Fed. R. Evid.
 5
          “G”, Harrell Decl., ¶ 9                 403; improper character evidence
 6
                                                  under Fed. R. Evid. 404.
 7
 8
      41. Plaintiff Herd pled “no contest” and    Objection: irrelevant, as this
 9
          was convicted on a felony charge of     information was unknown to the
10
          second degree burglary in               officers at the time of the shooting
11
          connection with the May 31, 2017        and Plaintiffs do not maintain a claim
12
          incident and served eleventh months for unreasonable detention and arrest.
13
          in County Jail.                         Fed. R. Evid. 401, 402; Graham v.
14
                                                  Connor, 490 U.S. 386 (1989). The
15
          See, Request for Judicial Notice,       probative value outweighs the
16
          Declaration of Jesse K. Cox in          prejudicial effect under Fed. R. Evid.
17
          Support of Motion for Summary           403; improper character evidence
18
          Judgment and in Support of Request under Fed. R. Evid. 404.
19
          for Judicial Notice, and Exhibits
20
          “A,” “B,” and “C” attached to the
21
          Declaration of Jesse K. Cox; see
22
          also, Herd Depo., 66:4-11, Exhibit
23
          “C,” Harrell Decl., ¶ 5
24
      42. (Defendants appear to have
25
          inadvertently skipped No. 42.)
26
      43. Apart from his shooting, Plaintiff      Undisptued.
27
28                                             -48-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
     STATEMENT OF FACTS AND CONLCUSIONS OF LAW; PLAINTIFFS’ ADDITIONAL UNDISPUTED FACTS;
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 1        DEFENDANTS’ ALLEGED
       UNDISPUTED MATERIAL FACTS                        PLAINTIFFS’ RESPONSE
 2
        AND SUPPORTING EVIDENCE
 3
          Herd does not complain that Officer
 4
          Perniciaro used any other means of
 5
          “excessive force.”
 6
 7
          See generally, Plaintiffs’ Third
 8
          Amended Complaint, Exhibit “H,”
 9
          Harrell Decl., ¶ 10.
10
11
   [Nos. 44 through 48 have been omitted from this document for consistency between
12 Plaintiffs’ opposition to Defendant City of Fontana’s motion for summary judgment
13 and Plaintiffs’ opposition to Defendant State of California’s motion for summary
   judgment.]
14
15      PLAINTIFFS’ ADDITIONAL
                                                       SUPPORTING EVIDENCE
      MATERIAL UNDISPUTED FACTS
16
17                               Background of the Shooting

18 49.    At the time of the shooting,             Leyva Depo. (“Exhibit 1” to

19        Officers Leyva and Perniciaro had        Masongsong Decl.) at 75:10-18;

20        no information that the dark Honda Perniciaro Depo. (“Exhibit 2” to

21        was stolen.                              Masongsong Decl.) at 37:16-20;

22                                                 Perniciaro Int. (“Exhibit 4” to

23                                                 Masongsong Decl.) at 11:11-12;

24                                                 Leyva Int. (“Exhibit 3” to

25                                                 Masongsong Decl.) at 26:13-15.

26 50.    Relative to this incident, Officers      Clark Decl. at ¶ 36(f).

27        Leyva and Perniciaro were not

28                                              -49-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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 1        responding to a violent crime.

 2 51.    At the time of the shooting, the        Perniciaro Depo. (“Exhibit 2” to

 3        officers did not have any               Masongsong Decl.) at 37:24- 38:6.

 4        information that any person in the

 5        dark Honda had committed a crime

 6        involving injury or death.

 7 52.    At the time of this incident, both      Leyva Depo. (“Exhibit 1” to

 8        Officers Leyva and Perniciaro were Masongsong Decl.) at 29:22-25;
 9        driving unmarked vehicles.              Perniciaro Depo. (“Exhibit 2” to
10                                                Masongsong Decl.) at 20:22-24.
11 53.    At the time of the shooting, Austin     Declaration of Austin Banuelos at ¶ 2.
12        Banuelos was a passenger in the
13        back seat of the dark Honda.
14 54.    At the time of the shooting, neither    Leyva Depo. (“Exhibit 1” to
15        Officer Leyva nor Officer               Masongsong Decl.) at 14:4-15;
16        Perniciaro knew whether there           Perniciaro Depo. (“Exhibit 2” to
17        were any passengers in the back         Masongsong Decl.) at 18:9-23;
18        seat of the dark Honda, and yet         Perniciaro Int. (“Exhibit 4” to
19        they fired anyway.                      Masongsong Decl.) at 13:18, at 20:13-
20                                                20.
21 55.    At the time of the shooting, Mr.        Herd Depo. (“Exhibit 5” to
22        Herd did not know that Officer          Masongsong Decl.) at 134:6-10,
23        Perniciaro and Officer Leyva were       137:17-18.
24        police officers.
25 56.    According to Mr. Herd and Mr.           Declaration of Austin Banuelos at ¶ 3;
26        Banuelos, neither Officer Leyva         Herd Depo. (“Exhibit 5” to
27        nor Officer Perniciaro identified       Masongsong Decl.) at 146:4-19,
28                                             -50-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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 1        himself as a police officer prior to      147:22-24.

 2        the shots starting.

 3 57.    At the time of this incident, both        Leyva Depo. (“Exhibit 1” to

 4        Officers Leyva and Perniciaro were Masongsong Decl.) at 30:1-6;

 5        dressed in street clothes as opposed Perniciaro Depo. (“Exhibit 2” to

 6        to a full police uniform.                 Masongsong Decl.) at 20:15- 21:5;

 7                                                  Leyva Int. (“Exhibit 3” to

 8                                                  Masongsong Decl.) at 7:3-10, 7:22-

 9                                                  8:1; Herd Depo. (“Exhibit 5” to

10                                                  Masongsong Decl.) at 128:2-3,

11                                                  140:12-20, 146:10-12.
12 58.    Officer Leyva agrees that if a            Leyva Depo. (“Exhibit 1” to
13        suspect observed him with a gun in Masongsong Decl.) at 63:1-4.
14        his hand without his uniform, the
15        suspect might not know that
16        Officer Leyva is a police officer at
17        first.
18 59.    Officer Perniciaro admits that if he      Perniciaro Int. (“Exhibit 4” to
19        had known he would be handling a          Masongsong Decl.) at 64:23-65:7.
20        situation other than vehicle
21        recovery, he would have worn a tac
22        vest and ballistic vest to make
23        himself identifiable as a police
24        officer.
25 60.    The officers had no information           Leyva Depo. (“Exhibit 1” to
26        that the occupants of the dark            Masongsong Decl.) at 38:17-19;
27        Honda were armed with any                 Perniciaro Depo. (“Exhibit 2” to
28                                               -51-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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 1        weapon.                                 Masongsong Decl.) at 37:21-23.

 2 61.    Neither Officer Leyva nor Officer       Leyva Depo. (“Exhibit 1” to

 3        Perniciaro ever saw a weapon or         Masongsong Decl.) at 38:20-23; Clark

 4        anything that looked like a weapon      Decl. at ¶ 36(d).

 5        in the dark Honda or on the person

 6        of Mr. Herd or the decedent.

 7 62.    Neither Mr. Herd nor the decedent       Leyva Depo. (“Exhibit 1” to

 8        ever verbally threatened to harm        Masongsong Decl.) at 38:24-39:3;
 9        either Officer Leyva or Officer         Perniciaro Depo. (“Exhibit 2” to
10        Perniciaro.                             Masongsong Decl.) at 38:10-12.
11 63.    Neither Officer Leyva nor Officer       Leyva Depo. (“Exhibit 1” to
12        Perniciaro ever thought that Mr.        Masongsong Decl.) at 20:20-22;
13        Herd or the decedent was shooting       Perniciaro Depo. (“Exhibit 2” to
14        at them.                                Masongsong Decl.) at 45:8-13.
15 64.    Officer Leyva cut off the dark          Perniciaro Depo. (“Exhibit 2” to
16        Honda’s path of travel with his         Masongsong Decl.) at 29:10-12;
17        unmarked vehicle.                       Perniciaro Int. (“Exhibit 4” to
18                                                Masongsong Decl.) at 29:20-23;
19                                                Leyva Int. (“Exhibit 3” to
20                                                Masongsong Decl.) at 36:26.
21 65.    At the time of the shooting, Officer Clark Decl. at ¶ 29.
22        Leyva had his undercover vehicle
23        available to him for cover.
24 66.    At the time of the shooting, there      Leyva Depo. (“Exhibit 1” to
25        were pedestrians in the parking lot.    Masongsong Decl.) at 64:19-21.
26 67.    At the time of the shooting, neither    Leyva Depo. (“Exhibit 1” to
27        Officer Leyva nor Officer               Masongsong Decl.) at 11:14-18;
28                                             -52-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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 1        Perniciaro knew the identity of Mr. Perniciaro Depo. (“Exhibit 2” to

 2        Herd or anything about his history.      Masongsong Decl.) at 19:2-4;

 3                                                 Leyva Int. (“Exhibit 3” to

 4                                                 Masongsong Decl.) at 45:27-46:2.

 5 68.    At the time of the shooting, neither     Leyva Depo. (“Exhibit 1” to

 6        Officer Leyva nor Officer                Masongsong Decl.) at 11:14-18;

 7        Perniciaro knew the identity of the      Perniciaro Depo. (“Exhibit 2” to

 8        decedent or anything about his           Masongsong Decl.) at 19:2-4;

 9        history.                                 Leyva Int. (“Exhibit 3” to

10                                                 Masongsong Decl.) at 45:27-46:2.

11 69.    According to Mr. Herd, the               Herd Depo. (“Exhibit 5” to
12        passenger window of the Honda            Masongsong Decl.) at 153:2-5,
13        was down at the time of the              231:16-19.
14        shooting.
15                                      The Shooting
16 70.    Officer Perniciaro placed his gun        Perniciaro Depo. (“Exhibit 2” to
17        inside the dark Honda through the        Masongsong Decl.) at 14:23-15:4.
18        open passenger window.
19 71.    According to Officer Perniciaro,         Perniciaro Depo. (“Exhibit 2” to
20        when he fired his shots, the barrel      Masongsong Decl.) at 15:15-25.
21        of his gun was approximately 3-5
22        feet from the decedent.
23 72.    According to Mr. Herd, when              Herd Depo. (“Exhibit 5” to
24        Officer Perniciaro pointed the gun       Masongsong Decl.) at 232:13-20.
25        at Mr. Herd’s face, the barrel of the
26        gun was approximately 3-5 inches
27        from Mr. Herd’s nose.
28                                              -53-
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 1 73.    Prior the shots starting, Mr. Herd       Herd Depo. (“Exhibit 5” to

 2        ducked as a natural instinct to          Masongsong Decl.) at 13:21-24,

 3        cover himself from the gun pointed 137:17-19, 141:18-20, 145:19-20,

 4        in his face through the open             146:4-19.

 5        passenger window.

 6 74.    When Mr. Herd saw a gun pointed          Herd Depo. (“Exhibit 5” to

 7        in his face, he thought that a           Masongsong Decl.) at 134:6-10.

 8        gangbanger was trying to harm

 9        him, and Mr. Herd was in fear for

10        his life.

11 75.    Officer Perniciaro intentionally         Perniciaro Depo. (“Exhibit 2” to
12        pressed the trigger four times.          Masongsong Decl.) at 13:22-14:2;
13                                                 Perniciaro Int. (“Exhibit 4” to
14                                                 Masongsong Decl.) at 10:2-4;
15                                                 Perniciaro Int. (“Exhibit 4” to
16                                                 Masongsong Decl.) at 72:22-73:3.
17 76.    Prior to the shots starting, Mr.         Banuelos Decl. at ¶ 4.
18        Banuelos looked out the front
19        windshield, and there was no
20        person in the path of the dark
21        Honda
22 77.    Prior to the gun being pointed at        Herd Decl. at ¶ 5.
23        Mr. Herd’s face, Mr. Herd looked
24        out the front windshield, and there
25        was no person standing in the path
26        of the dark Honda.
27 78.    When Officer Leyva was firing            Leyva Depo. (“Exhibit 1” to
28                                              -54-
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 1        into the dark Honda, he was               Masongsong Decl.) at 53:19-22;

 2        positioned to the driver side of the      Banuelos Decl. at ¶¶ 4, 6; Photos 1-3

 3        dark Honda, out of the path of the        (“Exhibits 6-8” to Masongsong

 4        dark Honda, and no person was in          Decl.); Leyva Int. (“Exhibit 3” to

 5        danger of being struck by the dark        Masongsong Decl.) at 53:8-10; Clark

 6        Honda.                                    Decl. at ¶ 36(b)(iii); surveillance

 7                                                  video.

 8 79.    When Officer Perniciaro was firing Leyva Depo. (“Exhibit 1” to

 9        into the dark Honda, he was               Masongsong Decl.) at 66:2-16 at

10        positioned to the passenger side of       67:3-5, at 68: 3-8; Leyva Int.

11        the dark Honda, out of the path of        (“Exhibit 3” to Masongsong Decl.) at
12        the dark Honda, and no person was         53:8-10, 62:24-64:10; Banuelos Decl.
13        in danger of being struck by the          at ¶ 4; Herd Depo. (“Exhibit 5” to
14        dark Honda.                               Masongsong Decl.) at 122:13-18;
15                                                  Photos 1-3 (“Exhibits 6-8” to
16                                                  Masongsong Decl.); Clark Decl. at ¶
17                                                  36(b)(iii); ; surveillance video.
18 80.    Neither officer was struck by the         Leyva Int. (“Exhibit 3” to
19        dark Honda or otherwise injured           Masongsong Decl.) at 10:11-13,
20        during this incident.                     54:13-15; Perniciaro Int. (“Exhibit 4”
21                                                  to Masongsong Decl.) at 10:6-8.
22 81.    Officer Leyva was not in the path         Leyva Depo. (“Exhibit 1” to
23        of the dark Honda, and he never           Masongsong Decl.) at 56:9-18; Clark
24        had to run or dive out of the path of Decl. at ¶ 36(b).
25        the dark Honda during this
26        incident.
27 82.    Officer Perniciaro never saw              Perniciaro Depo. (“Exhibit 2” to
28                                               -55-
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 1        Officer Leyva in the path of the          Masongsong Decl.) at 46:10-13.

 2        dark Honda.

 3 83.    Officer Perniciaro claims that            Perniciaro Depo. (“Exhibit 2” to

 4        before he fired his shots, he did not Masongsong Decl.) at 44:15-17,

 5        actually look to see whether              60:21-23, at 61:6-10.

 6        Officer Leyva was in the path of

 7        the dark Honda.

 8 84.    Officer Perniciaro admits that if he      Perniciaro Depo. (“Exhibit 2” to
 9        had known at the time of the              Masongsong Decl.) at 60:21-23, at
10        shooting that Officer Leyva was           62:2-14.
11        not in the path of the dark Honda,
12        then Officer Perniciaro would not
13        have fired any shots.
14 85.    Officer Perniciaro knew or should         Clark Decl. at ¶ 36(b)(v).
15        have known that Officer Leyva was
16        not in the path of the dark Honda,
17        based on the officers’ training that
18        an officer should not stand in the
19        path of a vehicle the officer thinks
20        might move.
21 86.    According to the officers and the         Perniciaro Int. (“Exhibit 4” to
22        surveillance video, when the              Masongsong Decl.) at 38:15-22;
23        Honda reversed prior to the shots,        Leyva Int. (“Exhibit 3” to
24        it was moving slowly.                     Masongsong Decl.) at 38:3.
25 87.    According to Officer Perniciaro           Perniciaro Depo. (“Exhibit 2” to
26        and the surveillance video, when          Masongsong Decl.) at 36:1-13
27        the dark Honda went in reverse            Perniciaro Int. (“Exhibit 4” to
28                                               -56-
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 1        prior to the shots, it only moved        Masongsong Decl.) at 37:24-38:7.

 2        backwards approximately 2-4 feet.

 3 88.    According to Mr. Herd and Mr.            Banuelos Decl. at ¶ 5; Herd Depo.

 4        Banuelos, the Honda was not              (“Exhibit 5” to Masongsong Decl.) at

 5        moving when the shots started.           196:12-21, 198:1-4, 230:12-22,

 6                                                 255:24-256:13.

 7 89.    According to Officer Leyva and the Leyva Depo. (“Exhibit 1” to

 8        surveillance video, the dark Honda       Masongsong Decl.) at 18:12-14.
 9        stopped momentarily prior to the
10        dark Honda moving forward.
11 90.    The dark Honda was not moving            Clark Decl. at ¶ 30.
12        when the shots started, and then the
13        dark Honda slowly rolled forward
14        after the shots started.
15 91.    According to Officer Perniciaro,         Perniciaro Depo. (“Exhibit 2” to
16        the dark Honda was only traveling        Masongsong Decl.) at 49:21-50:10.
17        at a speed of a few miles per hour
18        at the time of Officer Perniciaro’s
19        first shot.
20 92.    According to Officer Leyva, the          Leyva Int. (“Exhibit 3” to
21        dark Honda travelled forward, but        Masongsong Decl.) at 54:20-24.
22        only a couple of feet.
23 93.    Officer Perniciaro is not sure           Perniciaro Depo. (“Exhibit 2” to
24        whether the Honda ever impacted          Masongsong Decl.) at 40:17-21.
25        his unmarked vehicle.
26 94.    After the shooting, Mr. Herd was         Perniciaro Depo. (“Exhibit 2” to
27        generally cooperative.                   Masongsong Decl.) at 54:16-21;
28                                              -57-
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 1                                                Herd Depo. (“Exhibit 5” to

 2                                                Masongsong Decl.) at 205:18-20.

 3 95.    After the shooting, Mr. Herd was        Herd Depo. (“Exhibit 5” to

 4        yanked out of the vehicle and           Masongsong Decl.) at 156:9-12,

 5        thrown to the ground.                   158:11-12, 161:16-23, 204:24-25.

 6                           Physical and Forensic Evidence
 7 96.    Mr. Herd was struck by a gunshot        Herd Decl. at ¶ 7.
 8        in the back left shoulder area.
 9 97.    The trajectory of the gunshot           Herd Decl. at ¶ 7.
10        wound Mr. Herd sustained is back
11        to front, with no exit wound.
12 98.    After the shooting, Officer Leyva       Leyva Depo. (“Exhibit 1” to
13        observed bullet strikes on the          Masongsong Decl.) at 15:9-2, 25-
14        driver side window.                     16:12, 42:7-12; Photos 2-3 (“Exhibits
15                                                7-8” to Masongsong Decl.).
16 99.    There are no bullet strikes to the      Leyva Depo. (“Exhibit 1” to
17        front windshield of the Honda.          Masongsong Decl.) at 41:23- 42:1;
18                                                Photos 1-2 (“Exhibits 6-7” to
19                                                Masongsong Decl.).
20 100. Officer Leyva did not see any tire        Leyva Depo. (“Exhibit 1” to
21        marks on the roadway left from the Masongsong Decl.) at 40:24-41:1.
22        Honda.
23 101. There was no body damage to               Leyva Depo. (“Exhibit 1” to
24        Officer Leyva’s white truck.            Masongsong Decl.) at 39:13-15;
25                                                Perniciaro Depo. (“Exhibit 2” to
26                                                Masongsong Decl.) at 36:3-9.
27 102. The dark Honda could not have             Clark Decl. at ¶ 36(c).
28                                             -58-
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 1        been traveling at any substantial

 2        speed at the time of impact with

 3        Officer Leyva’s undercover vehicle

 4        or when the dark Honda moved

 5        forward after the shots started,

 6        considering that there is no body

 7        damage to Officer Leyva’s white

 8        truck and no damage to the front of

 9        the dark Honda.

10 103. Officer Perniciaro did not observe          Perniciaro Depo. (“Exhibit 2” to

11      any damage to the front of his              Masongsong Decl.) at 36:3-9.
12        unmarked vehicle that would be
13        consistent with impact damage.
14 104. After the shooting, no weapons              Leyva Depo. (“Exhibit 1” to
15        were recovered from any of the            Masongsong Decl.) at 59:5-7;
16        individuals in the Honda.                 Perniciaro Depo. (“Exhibit 2” to
17                                                  Masongsong Decl.) at 55:18-22.
18   Standards and Training on the Use of Deadly Force and Shooting at Moving
19                          Vehicles and their Drivers
20 105. At the time of this incident, POST          Clark Decl. at ¶

21        taught that deadly force is the
22        highest level of force.
23 106. At the time of the shooting, Officer Perniciaro Depo. (“Exhibit 2” to
24      Perniciaro had been trained that     Masongsong Decl.) at 63:10-16.

25        deadly force is the highest level of
26        force.
27 107. At the time of this incident, POST          Clark Decl. at ¶ 7.

28                                               -59-
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 1        required that deadly force can only
 2        be used as a last resort.
 3 108. At the time of the shooting, Officer Perniciaro Depo. (“Exhibit 2” to
 4      Perniciaro had been trained          Masongsong Decl.) at 64:10-16.

 5        pursuant that deadly force can only
 6        be used as a last resort, in the direst
 7        of circumstances.
 8 109. At the time of this incident, POST          Clark Decl. at ¶ 8.

 9        required that in consideration of the
10        sanctity of life, deadly force is only
11        authorized absent obvious
12        reasonable alternatives.
13 110. At the time of the shooting, Officer Perniciaro Depo. (“Exhibit 2” to
14      Perniciaro had been trained that     Masongsong Decl.) at 64:22-25.

15        deadly force should only be used
16        when no other reasonable options
17        are available.
18 111. Pursuant to basic police training,          Clark Decl. at ¶ 9.
19        deadly force can only be used an
20        Immediate Defense of Life
21        (“IDOL”) situation, or in defense
22        of immediate serious physical
23        injury.
24 112. At the time of the shooting, Officer Perniciaro Depo. (“Exhibit 2” to
25      Perniciaro had been trained          Masongsong Decl.) at 65:1-4.
26        pursuant to POST that deadly force
27        should only be used when there is
28                                              -60-
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 1        an immediate or imminent threat of
 2        death or serious bodily injury.
 3 113. Pursuant to basic police training,      Clark Decl. at ¶ 11.

 4        police officers must show a
 5        reverence for human life.
 6 114. Police officers are trained that        Clark Decl. at ¶ 10.

 7        deadly forced is only justified on
 8        the basis of an “objectively
 9        reasonable” belief that the suspect
10        poses an immediate threat of death
11        or serious bodily injury; in other
12        words, a subjective fear is not
13        enough.
14 115. Police officers are trained that they   Clark Decl. at ¶ 12.

15        are required to justify every shot
16        they fire.
17 116. Police officers are trained that they   Clark Decl. at ¶ 14
18        must be aware of their background
19        when using deadly force.
20
21 117. Police officers are trained that an     Clark Decl. at ¶ 13.
22      overreaction in using deadly force
23        is excessive force.
24 118. Police officers are trained to give a   Clark Decl. at ¶ 15.
25      warning prior to using deadly
26        force, when feasible.
27 119. At the time of this incident, Officer Perniciaro Depo. (“Exhibit 2” to
28                                          -61-
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 1        Perniciaro had been trained to use      Masongsong Decl.) at 40:5-7.

 2        his police vehicle for cover.
 3 120. Police officers are trained that the      Clark Decl. at ¶ 16.

 4        use of a firearm against a moving
 5        vehicle is inherently dangerous and
 6        almost always ineffective.
 7 121. At the time of this incident,             Leyva Depo. (“Exhibit 1” to

 8        Officers Leyva and Perniciaro had       Masongsong Decl.) at 74:7-10;

 9        been trained that shooting at a         Perniciaro Depo. (“Exhibit 2” to

10        moving vehicle is generally             Masongsong Decl.) at 62:21-63:3.

11        discouraged.
12
   122. At the time of this incident, Officer Leyva Depo. (“Exhibit 1” to
13
        Leyva had been trained as a police Masongsong Decl.) at 74:11-14.
14
        officer that firing at a vehicle or its
15
        driver is rarely effective and
16
        extremely hazardous to innocent
17
        persons.
18
   123. Police officers are trained that        Clark Decl. at ¶ 17.
19
        shooting at the driver of a moving
20
        vehicle would not bring the vehicle
21
        to an immediate stop.
22
   124. Police officers are trained that an     Clark Decl. at ¶ 18.
23
        assaultive motor vehicle does not
24
        presumptively justify the use of
25
        deadly force.
26
   125. Police officers are trained that one Clark Decl. at ¶ 19.
27
28                                             -62-
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 1        reason that shooting at a moving
 2        vehicle is discouraged is because
 3        doing so could disable the driver of
 4        the vehicle and cause the vehicle to
 5        go out of control and cause a more
 6        serious accident.
 7 126. At the time of this incident, Officer Leyva Depo. (“Exhibit 1” to
 8      Leyva had been trained that           Masongsong Decl.) at 48:25-49:2,

 9        shooting a driver of a vehicle at        49:12-18.

10        center mass could potentially cause
11        serious injury and death, disabling
12        the driver.
13 127. Police officers are trained that if a      Clark Decl. at ¶ 22.

14        vehicle appears to be coming in an
15        officer’s direction, that officer
16        should get out of the path of that
17        vehicle instead of discharging a
18        firearm at the vehicle or its
19        occupant(s), allow the vehicle to
20        pass, and utilize other tactical or
21        investigative means to apprehend
22        the suspect.
23 128. Police officers are trained not to         Clark Decl. at ¶ 21,

24        stand in the path of a vehicle they
25        think might move.
26 129. Based on their training as police          Leyva Depo. (“Exhibit 1” to
27        officers, Officers Leyva and             Masongsong Decl.) at 48:2-6;
28                                              -63-
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 1        Perniciaro understand that if they        Perniciaro Depo. (“Exhibit 2” to

 2        find themselves in the path of a          Masongsong Decl.) at 48:13- 49:5.

 3        vehicle or potentially in the path of
 4        a vehicle, they should move out of
 5        the way instead of shooting.
 6 130. Police officers are trained that            Clark Decl. at ¶ 20.

 7        deadly force should never be used
 8        against a moving vehicle unless
 9        there is an individual about to be
10        run over and there is no
11        opportunity to get out of the way,
12        which was not the case during this
13        incident.
14 131. Police officers are trained that if         Clark Decl. at ¶ 24.

15        they are able to get out of the path
16        of a motor vehicle that was initially
17        moving in their direction, then they
18        should not shoot.
19 132. If Officer Leyva felt that he was           Clark Decl. at ¶ 36(b)(iv).

20        close to the path of the dark Honda,
21        then he had ample room to move
22        out of the way and in fact was out
23        of the path of the dark Honda—
24        therefore, there was no reason to
25        shoot.
26 133. At the time of this incident, Officer Leyva Depo. (“Exhibit 1” to
27      Leyva had been trained as CHP         Masongsong Decl.) at 47:22- 48:1;
28                                               -64-
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 1        officer that if he believes a vehicle      Perniciaro Depo. (“Exhibit 2” to

 2        is trying to get away or leave the         Masongsong Decl.) at 46:10-13.

 3        area, he should not position himself
 4        in the path of that vehicle.
 5 134. Officer Leyva’s understanding of             Leyva Depo. (“Exhibit 1” to

 6        the CHP policy regarding shooting          Masongsong Decl.) at 48:12-16.

 7        at moving vehicles is that an officer
 8        should not deliberately place
 9        himself in front of or behind a
10        vehicle in order to prevent that
11      vehicle’s escape.
12 135. Pursuant to CHP HPM 70.6, Policy Clark Decl. at ¶ 36(o).
13      on the Use of Firearms, police

14        officers shall not stand and/or step

15        directly in front of or directly

16        behind a vehicle in an attempt to

17        impede its movement (prevent

18        escape), intentionally creating

19        circumstances where the use of
20        deadly force becomes necessary.
21 136. Police officers are trained that if a Clark Decl. at ¶ 23.
22      police officer is out of the path of a
23        driver-occupied motor vehicle, then
24        the officer should not shoot at the
25        motor vehicle or its driver in
26        defense of the officer’s own life
27        because there would be no
28                                                -65-
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 1        immediate threat of death or
 2        serious bodily injury.
 3 137. At the time of this incident, Officer Leyva Depo. (“Exhibit 1” to
 4      Leyva had been trained, pursuant to Masongsong Decl.) at 50:16-51:2.
 5        the CHP policy with respect to
 6        shooting at moving vehicles, that a
 7        police officer can only shoot at the
 8        driver of a vehicle in an immediate
 9        defense of life situation.
10 138. At the time of this incident, Officer Perniciaro Depo. (“Exhibit 2” to
11      Perniciaro had been trained that if   Masongsong Decl.) at 47:24-48:4, 17-

12        an officer anticipates that a vehicle     21.

13        is attempting to move, then the
14        officer should reposition himself to
15      a position of safety.
16 139. Police officers, including Officer          Clark Decl. at ¶ 25; Perniciaro Depo.

17      Perniciaro and Officer Leyva, are           (“Exhibit 2” to Masongsong Decl.) at

18        trained that a police officer cannot      52:6-8.

19        justify shooting at a moving
20        vehicle simply because that vehicle
21        was fleeing or trying to leave the
22        area.
23 140. Under the facts of this case, the           Clark Decl. at ¶ 36(s).
24      officers would not have been
25        justified in shooting at the dark
26        Honda or its driver as a fleeing
27        felon.
28                                               -66-
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 1 141. Under the facts of this case, a             Clark Decl. at ¶ 34.

 2        reasonably well-trained officer
 3        would not have shot at the dark
 4        Honda or its occupants because the
 5        occupants were attempting to steal
 6        a vehicle.
 7                     The Shooting was Excessive and Unreasonable
 8 142. Officer Leyva never yelled out              Leyva Depo. (“Exhibit 1” to
 9      “crossfire” or words to that effect,        Masongsong Decl.) at 69:18-70:5;
10        even though the officers’ positions       Clark Decl. at ¶ 35(b).
11        at the time of the shots created the
12        potential for crossfire when they
13        were to either side of the dark
14        Honda, out of the path of the dark
15        Honda.
16 143. Officer Leyva did not give a                Leyva Int. (“Exhibit 3” to
17      warning that he was prepared to             Masongsong Decl.) at 36:27-37:1,
18        use deadly force prior to shooting.       46:16-17; Herd Depo. (“Exhibit 5” to
19                                                  Masongsong Decl.) at 197:10-19.
20 144.                                      Clark Decl. at ¶ 26.
        Officers Leyva and Perniciaro
21
        violated basic police officer
22
        training regarding shooting at
23
        moving vehicles when they shot at
24
        the dark Honda.
25 145. A reasonable officer in the position Clark Decl. at ¶ 32.
26        of Officer Perniciaro would not
27        have fired any shots during this
28                                               -67-
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 1        incident.

 2 146. A reasonable officer in the position Clark Decl. at ¶ 32.
 3      of Officer Leyva would not have

 4        fired any shots during this incident.

 5 147. Contagious shooting can be                Clark Decl. at ¶ 36(p).

 6      considered excessive force, and

 7        this is a case of contagious
 8        shooting.
 9 148. The officers overreacted when they Clark Decl. at ¶ 13.
10      used deadly force against the
11        decedent and Mr. Herd, and an
12        overreaction in using deadly force
13        is excessive force.
14 149. Both officers engaged in negligent        Clark Decl. at ¶ 35.
15        pre-shooting tactics.
16 150. The officers should have waited for Clark Decl. at ¶ 35(d).
17        backup rather than contacting the
18        decedent and Mr. Herd in
19        plainclothes and unmarked
20        vehicles.
21 151. The officers were negligent by            Clark Decl. at ¶ 35(b).
22        failing to designate a contact-cover
23        officer.
24 152. The officers were negligent by            Clark Decl. at ¶ 35(c)
25        placing themselves in a position
26        that presented the possibility of
27        crossfire.
28                                             -68-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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 1 153. This was not an immediate defense           Clark Decl. at ¶ 36(a).

 2      of life situation.

 3 154. The shooting was excessive and              Clark Decl. at ¶ 36.

 4      unreasonable for the following

 5        reasons: (1) this was not an

 6        immediate defense of life situation;

 7        (2) at the time of all of Officer

 8        Leyva’s shots, no person was in the

 9        path of the dark Honda; (3) at the

10        time all of Officer Perniciaro’s

11        shots, no person was in the path of
12        the dark Honda (4) the officers had
13        other reasonable alternatives to
14        shooting, including moving out of
15        the way if that were necessary; (5)
16        no officer was injured during this
17        incident; (6) no officer had to run
18        or dive out of the path of the dark
19        Honda; (7) the officers lacked
20        situational awareness during this
21        incident; (8) the officers violated
22        basic police training by shooting at
23        the driver of a vehicle; (9) Officer
24        Leyva violated his own policy
25        when he fired at a driver of a
26        vehicle; (10) no occupant of the
27        dark Honda was armed; (11) no
28                                               -69-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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 1        occupant of the dark Honda ever

 2        made any verbal threats; (12) the

 3        officers were not responding to a

 4        violent crime; (13) the officers had

 5        no information that the occupants

 6        of the dark Honda had committed

 7        any crime involving injury or

 8        death; (14) this was not a high-

 9        speed vehicle assault; (15) the

10        officers showed no reverence for

11        human life; (16) a subjective fear is

12        insufficient to justify the use of

13        deadly force; (17) the officers did

14        not give the occupants of the dark

15        Honda time to comply with any
16        command(s) or warning(s), and
17        giving a command or warning
18        without giving time to comply is
19        tantamount to not giving a
20        command or warning at all; (18)
21        Officer Leyva failed to give a
22        warning that he was prepared to
23        use deadly force prior to shooting.
24        (19) Officer Leyva engaged in
25        contagious shooting, and
26        contagious shooting can be
27        considered excessive force; (20)
28                                              -70-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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 1         the officers displayed an

 2         unprofessional and callous attitude

 3         when they used profanity with the

 4         occupants of the dark Honda; (21)

 5         the officers would not have been

 6         justified in shooting at the Honda

 7         or its driver as a fleeing felon under

 8         the facts of this case; (22) the

 9         officers overreacted when they

10         fired shots, and an overreaction in

11         using deadly force is excessive

12         force.

13
14 PLAINTIFFS’ CONCLUSIONS OF LAW
15   1. Plaintiffs are entitled to judgment in their favor as to their First Cause of
16         Action pursuant to 42 U.S.C. section 1983 (excessive force) because the
17         uncontroverted facts establish that Officer Perniciaro’s use of force was
18         excessive and unreasonable. As it applies to the facts of this case, the officers’
19         subjective fear that Officer Leyva would be struck by the dark Honda is
20         insufficient to justify Officer Perniciaro’s shots. “A simple statement by an
21         officer that he fears for . . . the safety of others is not enough; there must be
22         objective factors to justify such a concern.” Deorle v. Rutherford, 272 F.3d
23         1272, 1281 (9th Cir. 2001) (emphasis added).
24     2. Plaintiffs are entitled to judgment in their favor as to their First Cause of
25         Action pursuant to 42 U.S.C. section 1983 (excessive force) because the
26         shooting by Officer Perniciaro violated clearly established law, basic police
27         officer training, CHP policy, and POST standards. See Hope v. Pelzer, 536 U.S.
28                                               -71-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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 1        730, 741 (2002) (the “salient question” is whether the state of the law gave the

 2        defendant “fair warning” that his alleged conduct was unconstitutional); see

 3        also Hernandez v. City of Miami, 302 F. Supp. 2d 1373, 1374 (S.D. Fla. 2004).

 4        It is clearly established that shooting at a vehicle where, as here, the vehicle

 5        and its occupants pose no immediate threat of death or serious bodily injury

 6        constitutes excessive force. See, e.g., Adams v. Speers, 473 F.3d 989, 994 (9th

 7        Cir. 2007) (shooting driver of slow-moving car not reasonable where driver

 8        posed no threat). Officer Perniciaro is not entitled to qualified immunity.

 9     3. Plaintiffs dismiss their claims for denial of medical care.

10     4. Even if this Court were to apply the “purpose to harm” standard, Plaintiff

11        A.G.’s Fourteenth Amendment claim would still survive because there is no

12        legitimate law enforcement purpose in shooting at the dark Honda and its

13        occupants because no officer was in the dark Honda’s path or in danger of

14        being struck by the Honda immediately prior to or during any of the shots.

15        Where the facts regarding practical deliberation are disputed, only the jury

16        can determine which of the two “shocks the conscience” standards apply.

17        Greer v. City of Hayward, 229 F. Supp. 3d 1091 (N.D. Cal. 2017).

18     5. Plaintiffs are entitled to judgment in their favor as to their Seventh and Eighth
19        Causes of Action for negligence against Office Perniciaro because the
20        uncontroverted facts establish that Officer Perniciaro’s use of force was
21        objectively unreasonable under the totality of the circumstances. Hayes v.
22        City of San Diego, 57 Cal.4th 622, 639 (2013).
23     6. Plaintiffs are entitled to judgment in their favor as to their Seventh and Eighth
24        Causes of Action for negligence against Defendant State of California
25        because Officer Perniciaro is liable, and the City is vicariously liable pursuant
26        to Cal. Gov. Code § 815.2.
27
28                                            -72-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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 1     7. The objective evidence shows that the dark Honda posed no threat of death or

 2        serious physical injury to Officer Leyva; therefore, Officer Perniciaro’s

 3        argument that he shot in defense of Officer Perniciaro is untenable, and the

 4        shooting constitutes a battery under California law. Brown v. Ransweiler, 171

 5        Cal. App. 4th 516, 527, 528 (2009). Defendant City of Fontana is vicariously

 6        liable for Officer Leyva’s misconduct under Cal. Gov. Code § 815.2.

 7     8. Plaintiffs are entitled to judgment in their favor as to their Eleventh Cause of

 8        Action based on Civil Code section 52.1 because Officer Perniciaro acted

 9        with a reckless disregard for Mr. Herd’s and Mr. Gleason’s rights to freedom

10        from unreasonable seizure, and a reckless disregard constitutes a specific

11        intent under Reese v. County of Sacramento, 888 F.3d 1030, 1043 (9th Cir.

12        2018). Accordingly, Defendant City of Fontana is vicariously liable for

13        Officer Leyva’s misconduct under Cal. Gov. Code § 815.2.

14     9. Judgment should be entered in favor of Plaintiffs.

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28                                           -73-
        PLAINTIFFS’ RESPONSES & OBJECTIONS TO CITY OF FONTANA’S AND JASON PERNICIARO’S
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